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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

___________________________________
                          )
ATLAS, INC., et al.,      )             Case No.: 1:17-cv-01953-RDM
                          )
           Plaintiffs,    )             Hon. Randolph D. Moss
                       v. )
                          )
INTERNATIONAL BROTHERHOOD )
OF TEAMSTERS, AIRLINE     )
DIVISION, et al.,         )
                          )
           Defendants.    )
                          )

    DEFENDANTS’ MEMORANDUM IN OPPOSITION TO PLAINTIFFS'
         MOTION FOR PRELIMINARY INJUNCTIVE RELIEF




                       Union Exhibit 4:
         Declaration of Kevin McCabe
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


ATLAS AIR, INC. and POLAR AIR CARGO                   Civil Action No. 1:17-CV-01953 RDM
WORDLWIDE, INC.,

Plaintiffs,

                      v.

INTERNATIONAL BROTHERHOOD OF
TEAMSTERS; INTERNATIONAL
BROTHERHOOD OF TEAMSTERS, AIRLINE
DIVISION; and AIRLINE PROFESSIONALS
ASSOCIATION OF THE INTERNATIONAL
BROTHERHOOD OF TEAMSTERS, LOCAL
UNION NO. 1224,

Defendants.


                           DECLARATION OF KEVIN J. McCABE

        I, Kevin J. McCabe, based upon my personal knowledge and review of records

maintained in the regular course of business, do hereby declare under penalty of perjury pursuant

to 28 U.S.C. § 1746 the following:

        1.     I am employed as a pilot by Atlas Air, Inc. (“Atlas”). I have worked at Atlas

since June, 1999.

        2.     I am a licensed commercial pilot and hold an Air Transport License issued by the

Federal Aviation Administration (FAA). I am type-rated to fly numerous aircraft as a

professional airman, including the Boeing B-747. I have well over 14,000 hours of international

and domestic cargo and passenger flying experience as a licensed commercial pilot, including

almost 800 hours in the 747-8F, flying to many diverse locations. I have a turboprop flight

engineer rating from the FAA. I also have an Airframe and Powerplant Certificate and

Inspection Authorization, i.e., an aviation mechanic’s license, issued by the FAA.
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         3.    Prior to working at Atlas, I worked as the Chief Pilot, Instructor, and Company

Check Airman for. Alaska Air Taxi, LLC is an Alaska-based charter carrier regulated by part

135 of the federal aviation regulations. My responsibilities while working there included the

development of pilot training programs, manuals and reports. I was also authorized by the

Federal Aviation Administration (FAA) to conduct FAR Part 135 pilot checkrides, i.e., actual

flying training for pilots. I also previously worked as the Chief Pilot, Check Airman and Ground

and Flight Instructor for another Alaska carrier, Island Air Service. While working at Island Air

Service, I also served as the carrier’s Director of Maintenance.

         3.    In addition to my experience as a commercial airline pilot, flight engineer,

aviation mechanic, and a flight operations and maintenance manager, I have twenty years of

military aviation experience, having served in the United States Coast Guard, where, among

other duties, I worked as C130 Flight Engineer, Flight Engineer training instructor/examiner,

Maintenance Control Chief, Mechanic and Maintenance Supervisor, and Quality Assurance

Chief.

         4.    By way of educational background, I have a Master’s Degree in Business

Administration from Regis University in Denver CO and a Bachelor of Science Degree in

Professional Aeronautics from Embry Riddle Aeronautical University.

         5.    I was formerly a member of the Air Line Pilots Association (“ALPA”), a labor

organization that separately represented the pilots employed by Atlas and the predecessor of

Polar Air Cargo Worldwide, Inc. (“Polar”). When the International Brotherhood of Teamsters,

Airline Division (“IBTAD”) replaced ALPA as the Atlas and Polar pilots’ labor representative in

December 2008, and delated its day-to-day representative responsibilities to an affiliated local

union, Airline Professionals of the International Brotherhood of Teamsters, Local Union No.



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1224 (Local 1224). In turn, Local 1224, which represents approximately 4,600 pilots employed

by eleven carriers, assigns its the day-to-day representative responsibilities to each of the eleven

pilots groups employed by the eleven contracted carriers to which it is assigned to deal with.

Each of the pilots groups is governed by an elected pilot executive council consisting of pilots

employed by their own pilot group. Those executive councils are authorized to establish

committees to assist them in carrying out their representative functions. Upon the IBTAD’s

certification as the Atlas pilots’ representative, I was elected by the Atlas pilots as a member of

the Atlas Pilots Executive Counsel in 2012 and served in that capacity through 2105. Since then

I have served on and assisted various labor-management committees on behalf of the Atlas

pilots. I am a member of Local 1224.

       6.      When the IBTAD became the certified representative of the Atlas and Polar

pilots, the Atlas and Polar pilots continued to work under the terms of separate collective

bargaining agreements that had been negotiated by ALPA. Over the next three years, the

IBTAD, Atlas and Polar engaged in collective bargaining negotiations to establish a single

collective bargaining agreement covering the Atlas and Polar pilots. After they were unable to

reach an agreement through negotiations, an arbitrator imposed the terms of a single collective

bargaining agreement in the fall of 2011. At that time, although Atlas and Polar remained (and

still remain) separately government-certificated air carriers, the Polar pilots were transferred to,

and became employees of, Atlas. At that time, the Atlas and Polar pilots’ seniority lists under

their previous, stand-alone collective bargaining agreements were combined into a single,

integrated seniority list. Upon the implementation of the arbitrator-imposed single collective

bargaining agreement in 2011 (SCBA), the Atlas and Polar pilots became one combined




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workforce working under a single collective contract with a single seniority list while working

for two separate air carriers.

        7.      Effective January 1, 2012, I was elected by the Atlas pilots to serve as a member

of the Atlas Pilots Executive Council, the 5-person board that, upon the imposition of the SCBA

and on behalf of the IBTAD and Local 1224, was assigned to provide the daily representative

collective bargaining and representative responsibilities of the Atlas pilots. In my capacity as a

member of the Atlas Pilots’ Executive Council, I also represented the Atlas pilots with respect to

the development and implementation of an FAA-mandated joint labor-management committee

called the Fatigue Risk Management Program Committee (FRMC). After that committee was

established, I served as one of the two Atlas-pilot appointed members on the five-person FRMC.

Currently, I serve as an advisor to the FRMC and have been afforded full access by Atlas to

fatigue risk management records and related Atlas programs and records including its pilot

scheduling software program, known as the “AIMS” crew management and scheduling program.

        8.      United States commercial airlines are regulated by various laws and regulations,

including 14 CFR Part 121 (FAR Part 121). FAR Part 121 provides various operating rules and

limitations for United States air carriers and their aviation workforces, including their pilots.

FAR Part 121, for instance, prescribes rules governing the maximum number of hours of flight

duty time that pilots may be assigned and work within specified periods. FAR Part 121 also

prescribes rest and fatigue rules that air carriers and every commercial pilot must adhere to.

        9.      For many years, the National Transportation Safety Board (NTSB) and the FAA

have expressed significant concerns about the airline industry’s hours of service and rest rules for

commercial airline pilots as set forth in FAR Part 121. In the wake of the highly publicized 2009

Colgan Air crash that killed 50 people, Congress passed the Airline Safety and Federal Aviation



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Administration Extension Act of 2010, requiring the FAA to develop science based pilot rest and

duty rules to address problems relating to pilot fatigue.

        10.    Following the enactment of the Airline Safety and Federal Aviation

Administration Extension Act of 2010, the FAA publicly announced that its then-current

regulations did not adequately address the risk of pilot fatigue. In so doing, the FAA endorsed

the NTSB’s years-long public concerns that the FAA’s hours of service and rest regulations did

not account for the impact of circadian rhythms on pilot alertness. The NTSB had, for many

years, recommended that the FAA and the airline industry adopt a comprehensive approach to

pilot fatigue with flight duty limits based on fatigue research, circadian rhythms, and sleep and

rest requirements. After a lengthy period of public notice and comment, the FAA published a

final rule revising the pilot hours of service and rest rules in early 2012. That final rule, which

was the first major revision to pilot rest and duty limits in more than 60 years, implements a new

part 117 to Title 14 of the FAA’s regulations (FAR Part 117) and became effective in early 2014.

        11.    When it published the final rule referred to as FAR Part 117, the FAA explained

that:

        The FAA believes that its current regulations [i.e., FAR Part 121] do not adequately
        address the risk of fatigue. The impact of this risk is greater in passenger operations due
        to the number of persons placed at risk. Presently, flightcrew members are effectively
        allowed to work up to 16 hours a day (regardless of the time of day), with all of that time
        spent on tasks directly related to aircraft operations. The regulatory requirement for 9
        hours of rest is regularly reduced, with flightcrew members spending rest time traveling
        to or from hotels and being provided with little to no time to decompress. Additionally,
        certificate holders regularly exceed the allowable duty periods by conducting flights
        under part 91 instead of part 121, where the applicable flight, duty and rest requirements
        are housed. As the National Transportation Safety Board repeatedly notes, the FAA’s
        regulations do not account for the impact of circadian rhythms on alertness. The entire
        set of regulations is overly complicated, with a different set of regulations for domestic
        operations, flag operations, and supplemental operations. In addition, these regulations
        do not consider other factors that can lead to varying degrees of fatigue. Instead, each
        set of operational rules (i.e. those applicable to domestic, flag, or supplemental



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       operations) sets forth a singular approach toward addressing fatigue, regardless of the
       operational circumstances that may be more or less fatiguing.

FAR Part 117 as it was published in the Federal Register, can be found at Fed. Reg., Vol. 2, pg.

330 et seq., Wednesday, January 4, 2012 (Final Rule). The above-quoted statement from the

FAA is in the Final Rule at page 334. Further explaining that new FAR Part 117 “prohibits the

certificate holder from assigning an FDP [“flight duty period”] to a flightcrew member who has

informed the certificate holder that he or she is too fatigued to safely perform his or her assigned

duties’[,] the FAA announced that it:

       has decided to make fatigue reporting mandatory because allowing a flightcrew member
       to accept an assignment to an FDP when that flightcrew member knows that he or she is
       too tired to fly safely poses an unacceptable safety risk.

Final Rule at pg. 349. The FAA further explained that through FAR Part 117:

       Instead of creating a single objective fatigue-measurement standard, the above
       subsection requires each flightcrew member to utilize the information provided during
       his or her statutorily-mandated fatigue training to self-assess whether he or she feels
       well-rested enough to safely complete his or her assigned FDP. The FAA also emphasizes
       that flightcrew members who feel alert at the beginning of an FDP can immediately
       terminate the FDP, under subsection (c) of section 117.5, if they feel themselves
       becoming too fatigued to safely continue their assigned duties.
Id.

The FAA also explained that:

       “[c]arriers are entitled to investigate the causes for an employee’s fatigue. If a carrier
       determines that the flightcrew member was responsible for becoming fatigued, it has
       every right to take steps to address that behavior.

Final Rule at pg. 350.

       12.     The FAA further explained in Federal Registrar publication of FAR Part 117 that:

       The FAA finds that this rulemaking is necessary for safety in air commerce. As discussed
       in other portions of this preamble, the existing flight, duty, and rest regulations [i.e, FAR
       part 121] permit flightcrew members to accumulate unsafe amounts of fatigue. This
       unsafe accumulation of fatigue undermines aviation safety by increasing the risk of an
       accident.



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Final Rule at pg. 387.

       13.     The FAR Part 117 rules are based on scientific knowledge of the effects of

fatigue, sleep and circadian rhythms on the human body. One significant and unanticipated

complication concerning the new rules however, arose after the airline cargo industry lobbied to

carve out and exempt “all cargo” airline operations from the new rules. I attended one meeting

of the FAA rule making committee (FAA ARC) that debated and ultimately acquiesced to the

cargo industry’s push to obtain an exemption from the new hours of service and rest rules that

were being discussed, known as the “cargo carve-out” to the new FAR Part 117 rules. In this

regard, based on my own knowledge following the FAA ARC proceedings and further readings

and discussion regarding the development of the FAR Part 117 rules, I understand that cargo

pilots were included when the FAA originally proposed the regulations. I further understand that

the aviation cargo industry, including Atlas, engaged in an extensive lobbying effort to remove

cargo pilots and all cargo airlines from the regulations, and eventually persuaded the White

House to order the FAA to remove them from the final regulation. As a result, there are two sets

of hours of service and rest rules governing the commercial aviation industry and its pilots: the

original, outdated and highly criticized rules applicable to “all cargo” airline operations; and the

new, science-based rules applicable to passenger airline operations. Important differences

between the new FAR Part 117 rules and the old, but still applicable to “all cargo” operations

rules relate to, among other things, the number of hours that pilots may remain on duty,

depending on the number of pilots in the crew, the length of the trip and the time of the flight’s

operation.

       14.     The differences between the new FAR Part 117 rules and the original, “all cargo”

hours of service and rest rules are particularly important and complex as applied to Atlas and



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Polar’s operations. At the time of the FAA ARC meetings, Atlas and Polar were conducting

both domestic and worldwide all cargo operations. Since the effective date of the FAR Part 117

rules, however, they now conduct both all-cargo and passenger operations. Along with a much

smaller carrier called ATI, they are the only carriers that I am aware of that are allowed by the

FAA to operated what are called “mixed operations,” i.e., “all cargo” and passenger flights. Only

these two airlines have pilots who are regularly required to fly both “all cargo” and passenger

flights. Atlas pilots are the only pilots that I am aware of within the industry that are required to

fly mixed operations during their same monthly schedules, which consist of very long, 17-day

monthly trips that can extend to as many as twenty days, not counting their time spent

commuting home from the Atlas base airports in and out which trips start and finish. In other

words, Atlas pilots are required to operate “all cargo” flights for one or more consecutive days of

their monthly trips, during which they are subject to the FAA’s old, more exhausting hours of

service and rest rules, and then, operate passenger flights the next night or several nights, during

which they are subject to the new FAR Part 117 rules. Pilots are themselves required by law to

adhere to all of the hours of service and rest rules, and they are subject to FAA enforcement

actions against their licenses if they violate them.

       15.     In 2013, Atlas set out to develop and implement a pilot fatigue risk management

plan (FRPM). I was tasked by the Atlas Pilots Executive Council to work with Atlas

management to accomplish this combined (IBT/Atlas) program. In 2013, Atlas and Local 1224,

through the Atlas Pilots Executive Council chairman, established the Atlas FRMC.         The Atlas

FRMC consists of two voting representatives appointed by Atlas, two voting representatives

appointed by the Local 1224 and a fifth member appointed by Atlas to serve as the committee’s

program manager. The FRMC is charged with collecting and analyzing data relating to pilot



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fatigue, including pilot fatigue reports, identifying operational issues affecting or contributing to

pilot fatigue and recommending solutions to resolve those operational issues.

          16.   Prior to the enactment of the Airline Safety and Federal Aviation Administration

Extension Act of 2010 and FAR Part 117, pilots in the airline industry often were hesitant and

even resistant to self-evaluate and report their degree of fatigue and fitness for duty to operate

commercial flights. Several factors contributed to this, including pilots’ mission-oriented

personalities that historically and typically have been experienced in the airline industry, as well

as their fear of retribution by their employer. This fear was particularly acute at Atlas and Polar,

as both carriers had previously disciplined pilots who called in fatigued. In order to change that

culture, the IBTAD and Local 1224 insisted that Atlas’ FRMP be non-punitive in nature.

Additionally, we needed to collect data on Atlas’s and Polar’s operations and felt that any

program which, at its inception, was punitive, would prevent an honest data-set for study and

action. Atlas and the Local 1224 ultimately agreed that the pilots’ participation in and reporting

under the FRMP would be non-punitive in all but a few narrowly tailored circumstances. The

non-punitive nature of the FRMP has helped to alleviate the concerns of pilots who previously

would not self-evaluate and self-report their fatigue, thereby reducing the risks to their own

safety and that of their fellow crew members, passengers, Atlas’s and Polar’s customers, and the

public.

          17.   Additionally, over the last few years, Atlas and Polar, like the rest of the

worldwide aviation industry, have experienced an increasing decline in pilot supply as a result of

several structural factors and conditions, including mandatory retirements, retention and

recruitment deficits, and operational decisions that place too heavy an emphasis on securing

additional flying business without ensuring that they have an available supply of pilots to cover



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the additional flying. Indeed, senior executives at Atlas, Polar and their holding company parent,

Atlas Air Worldwide Holdings, Inc. (AAWW), have openly and very publicly acknowledged

that over the last few years, Atlas’s and Polar’s operations have grown significantly, both in

scale and scope. All of these factors have stressed Atlas’s and Polar’s operations, and have

caused Atlas (as the employer for both Atlas and Polar) to scramble to hire pilots from an

increasingly shrinking pool of available pilots. This in turn has created a “pilots’ market,” as air

carriers the world over, and especially in the United States, have engaged in an economic

bidding war to retain and attract pilots from other carriers. The carriers that offer the best wages

and benefits typically succeed at poaching pilots from carriers that do not place a premium on

pilot wages and benefits. Here at Atlas, it is no secret that the pilot turn-over rate over the last

few years has been significant, as many senior and mid-seniority pilots have quit and obtained

employment with other carriers while younger, pilots, many with little or no experience in

international operations of the type conducted by Atlas and Polar, have been hired to replace

them. Although Atlas’ executives have told the pilots and the public that they intend to have a

workforce of 2,000 pilots by the end of the year, the Atlas pilot workforce is, today, well short of

that number. Moreover, today, approximately thirty percent of the Atlas pilot workforce has less

than two years of seniority with Atlas, and approximately 50% of the Atlas plot workforce has a

hire date on and after January 1, 2015. Many of these new pilots are young, were previously

employed by domestic commuter airlines, and have little or no experience flying international

operations under FAR Part 121 at all, much less flying the complex international operations or

mixed operations under both FAR 121 and FAR 117 as conducted by Atlas and Polar. As

young, new commuter pilots, however, many of these new hire pilots did not work in the




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industry when calling out fatigued was considered and treated unfavorably. They are more

comfortable participating within the industry’s new fatigue and passenger hours of service rules.

       18.     Also in 2013, Atlas sent the pilots six monthly bulletins informing them of the

existence of its newly established FRPM and reminding them that the program was operational.

Atlas also emphasized that it was committed to the FAA’s mandate to mitigate fatigue, and

explained that its program demonstrated the commitment of the company’s senior management

for measuring, assessing, evaluating and mitigating fatigue. A true and correct copy of one of

those bulletins, dated December 4, 2013, is attached hereto as McCabe Exhibit 1. In those

communications, Atlas also advised the pilots that, “[d]ue to the dynamic nature of our

operations the Company intends to mix Crews occasionally between Part 121 and Part 117, even

within the same trip.” Aside from touting the existence of the FMRC while advising the pilots

that its scheduling program (AIMS) was programed to monitor the separate regulatory hours of

rest requirements for its FAR Part 117 flights and “all cargo” hours of rest requirements,

however, Atlas gave very little substantive training and guidance on how the pilots themselves

should carry out their own legal responsibilities to individually ensure that they would be in

compliance with the two separate regulatory hours of service rules.

       19.     As it is required by law, Atlas maintains numerous policy manuals that are for

reference by both management and its employees. One such manual is its FRMP. The FRMP

plan document, which I believe was last revised in September, 2016, is attached hereto as

McCabe Exhibit 2. Atlas’s FRMP plan document explains that Atlas is a FAR Part 121 air

carrier that is wholly owned by AAWW and which operates a mixed fleet of Boeing 747 and 767

aircraft. Id. at § 1.1. Atlas’s FRMP plan document also states that:

               Safety is a vital component of our mission. Senior management is committed to
       safety and making safety excellence an integral part of all flight and ground activities

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        through the proper establishment and support of safety policies, procedures and
        programs.

                All Atlas employee shall be reminded of their obligation to safety and the
        competitive advantage an excellent safety record brings to our operation. Accordingly,
        we will set goals and regularly review these goals to promote the highest standards.

               We ask that each employee accept the responsibility to communicate any
        information that may affect the integrity of safety. In turn, management will provide
        resources to ensure immediate action is taken when safety matters are identified, or
        unacceptable risk is discovered.

Id. at § 1.2.

        20.     Atlas’s FRMP plan document further states Atlas’ commitment to flight

operations safety. As set forth therein:

                Atlas is committed to managing and mitigating all aspects of Crew fatigue, and
        utilizes every means available; ensuring Crew members are fully alert for each aspect
        of their assigned duties. Atlas supports a safety culture that is non-punitive, non-
        retaliatory, and is structured to promote the highest level of safety and compliance with
        all applicable policies, procedures and regulations.

                From the highest level, the Atlas Management team ensures that employees
        receive all necessary tools to complete missions safety and efficiently. Atlas maintains
        a safety culture as set of enduring values and attitudes regarding the importance of
        safety, and this culture is shared by every member and at every level of our
        organization. Safety culture is widely recognized as critical to the success of fatigue
        prevention and in the continuing education of these goals.

Id. (Emphasis supplied).

        21.     Atlas’s FRMP plan document further explains that:

                Atlas utilizes Web Based Application Tool (WBAT), a comprehensive aviation
        safety reporting software developed in partnership with the FAA. This system design
        supports submission and analysis of ASAP Reports, Fatigue Reports, and Safety
        Assurance Reports. This reporting system, to the greatest extent possible, solicits
        detailed fatigue information to aid in the follow up investigation and root cause analysis
        of each fatigue event. The FRMP Manager working with the Fatigue Review Team
        (FRT) will be responsible for the initial review of all fatigue reports.

               The FRMP Manager will coordinate with Flight Operations Management, the
        Corporate Safety Department, and the Union Safety Representative on a quarterly basis
        (more frequently if necessary) with the purpose of making several key decisions (e.g.,

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       report acceptance, corrective action, and recommendations for fatigue mitigation) and
       determinations (e.g., root cause analysis, risk assessment) during the report review
       process. Although the specifics of the process may vary, this fatigue review will adopt a
       process that is consistent from one report to the next to help ensure that each fatigue
       report is reviewed thoroughly.

               All reports will be evaluated for acceptance by the Corporate Safety Department.
       Once a report is accepted, the FRMP Manager will then conduct a root cause analysis
       leading to possible corrective actions, i.e., Company recommendations for fitness for
       duty. All Company recommendations will be submitted to the Director of Operations.
       This additional level of ‘safety performance monitoring’ this is provided within our
       Safety Culture generates substantial benefits beyond those provided by simple
       compliance with flight/duty-time regulations. For Atlas and its Crew members, the term
       ‘safety performance monitoring’ is used to cover the internal reporting mechanisms
       associated with all safety-related activities. The benefit this culture has brought to the
       Company has produced substantial returns many times over, especially considering the
       unique and challenging nature of Atlas operations.

              All employees are encouraged to report safety-related concerns through the
       available reporting mechanism. It is of particular note that all reporting systems are
       non-punitive in nature, subject to the following limitations:

              □       Must not involve intentional disregard for safety
              □       Must not involve intentional violation of regulations
              □       Must not involve criminal activity
              □       Must not involve substance abuse
              □       Must not have been intentionally falsified

               This culture helps align organizational efforts toward the ultimate goal of
       improved safety. When employees are consulted throughout the development of the
       policy and are supportive of the process, we find it more likely they will take a positive,
       proactive approach to fatigue risk management at the individual as well as
       organizational levels.

Id. (Emphasis supplied).

       22.    Atlas’s FRMP plan document further instructs that

                No Crewmember should operate a flight if, at any time, the safe outcome of the
       flight is in question due to fatigue. Crew members who judge their capability to be
       impaired by fatigue must immediately notify Crew Scheduling and they will be removed
       from flying duties without question.

Id. at §1.4. (Emphasis supplied).




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       23.     In accordance with the Atlas FRMP and FRMC rules, pilots are asked to submit

fatigue reports to the FRMP within seventy-two hours of calling out fatigued. Pilots who do not

call out fatigued but who experienced fatigue while operating an aircraft are also encouraged to

file fatigue reports with the FRMC. Pilots who call out fatigued are required to call Atlas’s

scheduling department and advise that they are unfit to fly due to fatigue. The calls are recorded.

Due to the previous contentious nature of such a call, the Atlas schedulers who take the fatigue

calls are required to read from a script prepared by the FRMC. During the call, the scheduler is

required to instruct the pilot that, if he or she needs more than the minimum of ten hours’ rest, he

or she should let them know while still on the phone or to call the scheduling department as soon

as practicable. The scheduler is also required to arrange for the pilot’s transportation to a hotel

where he or she must be afforded a minimum of ten hours’ rest. The scheduler is then required

to inform the pilot that he or she should check his or her schedule at wake up (this was a ten-hour

time period agreed upon by the FRMC), because the carrier may have by that time found another

pilot to operate the flight that the pilot had called off from. The scheduler is further instructed to

inform the pilot that once he or she is rested, the pilot should contact his or her chief pilot.

       24.     At its meetings, the FRMC reviews the fatigue reports submitted by the pilots. In

this regard, the FRMC program manager or a designee is tasked with sorting the reports into

various “key word” categories, so that that FRMC can review reports that involve similar issues.

Among the categories approved by the FRMC are:

       ●       Hotels

       ●       Transportation;

       ●       Delay for Weather;

       ●       Delay for Maintenance;



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       ●       Schedule Changes;

       ●       Back Side of the Clock;

       ●       Deadhead to Operate;

       ●       Rest Facility;

       ●       Minimum Rest;

       ●       24 Hour Rest;

       ●       Sleep Opportunity;

       ●       Window of Circadian Low;

       ●       Cumulative (look back at schedule);

       ●       General Fatigue;

       ●       Reserve R3/R2; and

       ●       One Off

The “Scheduling Changes” category includes fatigue reports involving changes to the involved

pilot’s seventeen-day schedule, such as adding or removing flights, substituting flights for flights

that were not on the pilot’s monthly schedule (for example, substituting an west-bound series of

flights such as Hong Hong-to-Incheon-to-Anchorage flights for southbound flights such as

Hong-Hong to Europe-to the Middle East), adjusting flight times, hotel changes, and crew

changes. Of all of the fatigue reports considered by the FRMC since its first meeting in June,

2013, a great majority of those reports are attributable to scheduling changes. In fact, they are so

frequent, that the FRMC refers to fatigue callouts attributable to scheduling changes as

“scheduling chaos.”

       25.     After discussing and considering each of the fatigue reports that are presented to

it, the FRMC votes to accept or reject those reports. Some are discussed at great length, while



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others are simply immediately understood and are categorized, at which point the FRMC moves

on to review the next report. In this way, Atlas, through its three voting FRMC members and the

senior company managers who attend the FRMC meetings, is given the opportunity to review

each and every fatigue report and to decide whether or not each crewmember’s report was an

abuse of the Atlas FRMP. AAWW’s Captain Carlson does not attend the FRMC meetings, but

he is on the distribution list and is notified of each fatigue report when it is entered into the

system by the pilot. The FRMC has considered approximately 600 filed fatigue reports and

approximately 800 fatigue callouts all told since the committee commenced operations in June,

2013. To the best of my recollection, the FRMC has unanimously voted to accept all but two of

those fatigue reports. To the best of my recollection the two reports that were not accepted were

re-labeled as legitimate sick call outs, and neither of them involved the fatigue callouts cited by

and relied upon by Plaintiffs in their complaint and relied upon by Plaintiffs and Captain Carlson

in support of Plaintiffs’ motion for a preliminary injunction in this case.

        26.     I have reviewed the complaint filed by Atlas and Polar in this case. I have also

reviewed the sworn declaration filed by Captain Jeffrey Carlson, AAWW’s Senior Vice

President, Flight Operations. In his declaration, Captain Carlson cites several examples to

support his assertion that “the number and circumstances of fatigue calls, particularly those after

lengthy rest periods in recent months are contrary to the status quo and represent a calculated

campaign to cause long delays and maximum harm.” Those examples and Captain Carlson’s

conclusion that they represent a “calculated campaign” by the Union to “cause long delays and

maximum harm” to Atlas and Polar are contained verbatim in the complaint. The examples cited

by Captain Carlson and the complaint are very vague, as they do not identify by aircraft tail

number or flight number, the names of any of the pilots involved (except one), including the



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names the pilots who called off fatigued (or, for that matter, sick), or the circumstances that gave

rise to those pilots calling off fatigued. In order to investigate the accusations made against it

and the Atlas pilots, the Union published the complaint and Captain Carlson’s declaration and

asked the Atlas pilots to provide it with any information that they may have regarding the

allegations made in those documents, including the fatigue call accusations. Most of the pilots

whose fatigue calls are cited in the complaint and Captain Carlson’s declaration have come

forward with information and have consented to the Union’s identification of their names and

description of the events that gave rise to their having called off fatigued. Based on the

information that they provided, including copies of the narratives that submitted to the FRMC or

their own records, I can state with full confidence that Atlas’s and Polar’s allegations in their

complaint and motion and Mr. Carlson’s statements in his declaration in support of that motion

are inaccurate.

       27.        The first and second series of fatigue calls cited by Plaintiffs in their complaint in

support of its accusation that the Union is engaged in a “calculated campaign to cause long

delays and maximum harm” to Plaintiffs and by Captain Carlson in his declaration in support of

Atlas’s motion for preliminary injunction state that:

       On April 23-25, 2017 crew actions (including multiple fatigue calls and maintenance
       write-ups) caused an aircraft flying approximately 120 service members home to their
       families in the United States to experience 3 consecutive delays of over 60 hours on each
       leg of a trip from Kuwait to Germany to New Hampshire to Texas. The primary fatigue
       call was made, after the pilot had received 14.5 hours of rest, at Hahn Airport in
       Germany, where the aircraft stopped for cleaning and catering and a crew change that
       should have taken approximately two hours. Instead, the aircraft took a more than 14-
       hour delay as a result of the fatigue call. Atlas spent more than $56,000 to house and
       feed the distressed passengers.

       On April 24, 2017, the Captain who caused the initial delay from Kuwait to Germany on
       April 23, 2017 was removed from that route and provided with a commercial business
       class flight from Kuwait to Germany, with the intent that he would have a restful flight,
       and fly another mission for the military. He was assigned a trip from Germany to Kuwait

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       to Al Dhafra Air Base in the UAE, where he would pick up 138 military service members
       to bring them back to their families in Baltimore. The Captain, who had previously
       received 11.5 hours of rest, placed multiple fatigue calls in Germany, causing a 17.5-
       hour delay for the flight from Germany to Kuwait. The delay then caused a compound
       delay of approximately 8 hours for the flight from Kuwait to Al Dhafra. The 138 military
       service members thus waited for their flight home for an additional 25.5 hours because of
       this Captain’s multiple fatigue calls.

After investigating these accusations, the Union has learned that the incidents described therein

involve two different aircraft delays, and two different pilots, namely, Captain Dan Lennox and

Captain Mike Nolting.

       A.      The first incident involved the second leg of Flight No. GT8168 and Captain

Lennox. Captain Lennox, who was on his eleventh consecutive duty day, was scheduled to

operate Flight No. GT8168 from Hahn, Germany to Kuwait and then deadhead back from

Kuwait to Hahn on Aircraft No. 645, for a duty day of seventeen hours and thirty minutes. He

called fatigue for the deadhead flight back from Kuwait to Hahn, and was off the aircraft before

any passengers had boarded. Significantly, because Captain Lennox was a deadheading pilot, his

fatigue call did not delay the flight. As he explained in the narrative of the fatigue report that he

submitted to the FRMC:

               I was scheduled to operate Hahn (HHN) to Kuwait City (KWI), then deadhead
       back to HHN for a duty day of 17:30. Upon reaching KWI the outbound crew arrived
       with a deadheading captain. The first officer and I proceeded to the back to our crew rest
       seats. Upon reaching my crew rest seat, the seat was fully reclined and I was not able to
       bring the seat up to the upright position. I informed maintenance, and after a few
       minutes, he was able to fix the seat. I sat down and awaited departure. I spoke with the
       deadheading captain and asked him about where he was going to sit given there were
       three of us and only two crew rest seats. He called the company and was removed from
       the flight and placed on a commercial flight to HHN.

               Shortly thereafter I tried to recline the seat, however, it would not move. I again
       informed maintenance and was informed that he would try to fix it before departure.
       Approximately one hour prior to departure, I asked maintenance about the seat and was
       informed that he was not able to fix it and told me that the seat was not deferred. With no
       crew rest seat available to me, I called crew scheduling and informed them of the
       situation. I was told that I was legal to do the deadhead without the crew rest seat. We

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       had a short discussion, and I tried to understand why the other captain, who’s duty day
       was only 8:30 was not legal to go without a proper crew rest seat, and yet according to
       scheduling, I was legal to go without a seat on an almost eighteen hour day. At this point,
       I was very tired, and informed the scheduler that I was fatigued, and I asked to be
       removed from the flight. I arrived at the hotel about ninety minutes later, checked in, and
       contacted crew scheduling to inform them that I was in the hotel and ready to begin rest.
       I was informed that I would have ten hours and then would commercial back to HHN.
       Again, a brief discussion ensued, and I informed the scheduler that I may not be
       adequately rested after ten hours and I would contact him when I was rested and fit for
       duty. Again I was told to check my schedule in ten hours and we hung up.

                Before going to bed, I checked my schedule and saw that I was placed on a
       commercial flight that was departing approximately 11 hours later. I went to bed and
       woke up about eight hours later. I then again checked my schedule and observed that my
       commercial flight was changed and my new departure was approximately eight hours
       later. I spent the remaining time awake, and proceeded to my flight and arrived in HHN
       as scheduled.

As Captain Lennox explained in his narrative, he was scheduled to work a seventeen and one-

half hour duty day operating a flight from Germany to Kuwait and then deadheading back to

Kuwait. The aircraft had only two crew rest seats for three deadheading pilots, and one of the

two seats was broken. The third deadheading pilot, i.e., the pilot who would have been the odd-

man out even if both of the crew rest seats had been properly functioning, called Atlas’s

scheduling department to complain about the lack of a crew rest seat for him and the scheduling

department removed him from the flight and placed him on a commercial flight back to Hahn

that was scheduled to depart later in the day. When Captain Lennox called Atlas’s scheduling

department to complaint about the lack of a crew seat for him too (because the crew rest seat was

broken), the scheduling department told him that he would have to remain on the deadhead flight

back and that he was still “legal” to deadhead back to Hahn without a crew rest seat. Captain

Lennox then called fatigued. The scheduling department then scheduled the near-minimum

amount of rest required by law, even though Captain Lennox had explained that he was

extremely fatigued. When Captain Lennox advised the scheduling department that he might



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require more than minimum-required rest, the scheduling department instructed him that only ten

hours of rest was being allotted to him and that he had to had to check his schedule at the end of

that ten-hour rest period. Captain Lennox woke up eight hours later and checked his schedule, at

which point he learned that the scheduling department had scheduled his deadhead flight depart

nearly a half day later, thereby ensuring that Captain Lennox had to wake up earlier than he

otherwise would have had to if the scheduling department had simply arranged to provide him

more rest in the first place.

        B.      Captain Lennox experienced additional fatigue after he arrived back in Hahn from

his deadhead flight from Kuwait. He therefore submitted a second Fatigue Report to the FRMC

and kept of copy of the narrative that he provided to the FRMC for his records. As set forth in

his narrative, Captain Lennox explained that:

        I arrived in Hahn (HHN) after an all night commercial from Kuwait (KWI) and reached
        the hotel around 1130z where I was scheduled for a rest period of only 11:15. My next
        assignment consisted of operating from HHN to KWI with a double commercial flight to
        Bahrain (BAH) for a total duty day of 18:25.

        After checking into the hotel and arriving to my room, I went down to get breakfast then
        returned to my room to go to sleep. I was able to sleep for about two hours on my
        commercial flight, so as a result I was not very tired, but nonetheless, I tried to sleep.
        Although my curtains were closed, there was a lot of light in my room, and after several
        hours of tossing and turning, I did fall asleep for about three hours. I woke up very tired
        and tried to go back to sleep before my wakeup call but was unable. I received my
        wakeup call, and shortly thereafter, I contacted crew scheduling and informed them that I
        was very tired, not fit for duty, and therefore fatigued and not able to safely operate the
        flight. The crew scheduler told me to check my schedule and that I would receive my
        wakeup call in ten hours. After I hung up I left my room to get some food. About an hour
        later, I returned to my room and went to bed. I was very restless as I tossed and turned
        for several hours before I was able to fall asleep for what I think was only a few hours. I
        woke up sometime around 1:00am and could not get back to sleep. I took a hot shower as
        I thought it would help relax me, and returned to bed where I lay awake until right before
        wakeup.

        Once again, I was not able to get quality, restful sleep, I contacted crew scheduling about
        forty minutes prior to my scheduled wakeup call and informed them I would need more
        time to rest. The crew scheduler acknowledged and informed me that he would adjust my

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       schedule to reflect another ten hours of rest. After hanging up the phone, I went
       downstairs for breakfast and returned to my room where I went to bed and promptly fell
       asleep until I received my wakeup call approximately 1610z. Finally, after several days
       of not being able to get good sleep, I was finally feeling well rested and proceeded to my
       scheduled flight without further issues.

       As a side note, a second FTG code was placed on my schedule on the 25th which I
       disagree with. The second event was merely an extension of the first FTG call from the
       24th.

As was the case while he was in Kuwait, Captain Lennox faced a long duty period (eighteen

hours and twenty-five minutes) after arriving back in Hahn from an all-night commercial

deadhead flight. After having had little rest, as explained in his previous fatigue call discussed

above, Captain Lennox called off fatigued and was allotted ten more hours of rest. However,

Captain Lennox still was unable to adequately rest and was still fatigued. He therefore called

Atlas’s scheduling department advising that he needed more rest, which he received. Captain

Lennox awoke from the extended rest period rested and fit for duty and proceeded to carry out

his scheduled assignments. Fatigue lasting several days following long duty periods and several

nights of little sleep is not unusual and is a byproduct of the type of long international flying that

the Atlas pilots are required to perform.

       C.      The third fatigue call referenced in the complaint and Captain Carlson’s

declaration during April 23-25, 2017 involved the flight from Kuwait to Hahn on April 23, 2017

on which Captain Lennox was originally scheduled to deadhead and from which he called off

fatigued. Based on my review of Atlas’s scheduling records kept in the ordinary course of

business, that flight was delayed in Kuwait due to aircraft maintenance problems relating to

engine cowl rivets. The maintenance delay caused a delayed arrival in Hahn. This, in turn,

caused the pilots originally assigned to operate the aircraft from Hahn to Portsmouth, New

Hampshire to exceed their regulatory flight duty time limits, thereby resulting in them being



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unable to legally operate the flight. Atlas then assigned two other Atlas pilots to operate the

Hahn-to-Portsmouth Tran-Atlantic flight, including Captain Nolting. Captain Nolting had been

scheduled to deadhead home after seven consecutive days on duty. He was already outside of

his hotel waiting for an early morning transport from Hahn to the airport in Frankfurt, Germany

to commercial home when Atlas advised him that his schedule had been changed and that he was

required to operate a two-man flight crew carrying military passengers from Hahn to Portsmouth,

New Hampshire that night, i.e., ten or twelve hours later. After having slept all night so that he

would be rested to fly in the morning, Captain Nolting attempted to sleep or nap during the day

and tried several techniques to tire himself out and force his body to sleep. None were effective,

however, and Captain Nolting assessed himself and determined that he was not fit for duty to

operate that flight. He therefore notified the Atlas scheduling department and called off fatigued.

Captain Nolting submitted a Fatigue Report to the FRMC. As he explained in the narrative of

that fatigue report, Captain Nolting wrote that:

       I operated into HHN the day before this trip was assigned to me. Shortly after block in off
       of flight 8365 or CMB584 in HHN, I looked at my schedule and there were no changes.
       16 hours later, and non contactable, I was scheduled to limo to Frankfurt at 5AM and
       then commercial home on a Delta flight that left at 11 am on Sunday.

        I arrived at the hotel shortly after lunch. I took a couple hour nap and then went out and
       had some lunch. I hung out the rest of the day and started to plan my sleep so that I could
       stay awake for the commercial flight home, and then be back on my normal sleep cycle
       shortly after getting home. This would make it so I would be tired for bed around 10 pm
       at home. I slept all night long and woke up at 0430 am so I could grab the scheduled limo
       ride at 5AM over to FRA.

       After 15 minutes of standing in the lobby waiting to check out and waiting on my limo, I
       realized that there was no transportation for me so I called travel to see what been
       arranged and to notify them of no transportation. They then told me that I was not
       commercializing home, but rather operating to PSM later that night. So they transferred
       me to scheduling to review the changes. I advised scheduling that I slept all night and
       now I was awake and that they would be scheduling me to work when I would be going to
       bed back home.



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       So, I tried to sleep later, but I could not. I was wide awake all day. I was just staring at
       the ceiling trying to sleep but I could not. The bed was hard, and I just couldn't sleep. I
       tried watching a boring movie and that didn't work. I even exercised to try to wear myself
       out and that did not help. I am not a machine and I cannot just tell myself to sleep on
       command. 6:45 pm rolled around and the wakeup alert came. I was now feeling a little
       tired and I knew that I would be really feeling really tired or fatigued around the time we
       would be coasting out over the Atlantic.

       I assessed my flight. It was a 2 man crew on an 8 hour plus passenger flight across the
       Atlantic in the middle of the night with a fairly new pilot that does not have much time
       here at Atlas. I definitely knew that I would be tired upon landing in PSM which would
       have been around midnight. So, in the interest of safety, I felt it was best to call in
       Fatigued.

Based on my review of Captain Nolting’s narrative that he included in his fatigue report to the

FRMC, my many years as an airman at Atlas and Polar, and my years of industry-experience,

including my years as a representative on the Atlas FRMC, the circumstances that gave rise to

Captain Nolting’s fatigue are not unusual at Atlas and Polar. In my opinion, they are attributable

to the types of scheduling changes that Captain Nolting experienced and the scheduling chaos

that strongly defines Atlas’s and Polar’s operations. Indeed, this was not the first time that

Captain Nolting experienced fatigue as a result of Atlas’s and Polar’s chaos. In October 2016,

Captain Nolting called off fatigued from Flight No. GTI 3403 which was scheduled to fly from

Ontario, California, to Dallas-Fort Worth (DFW), Texas. Captain Nolting submitted a Fatigue

Report with the FRMC and kept a copy of the narrative that he included in that report for his

records. As he explained in that narrative:

       So I started this pattern with 6 hours of R-3 (airport standby) 3am-9am at the DHL
       building in CVG. I tried to sleep at the sort but with very little luck due to the other guy in
       the adjacent bunk snoring and his passing gas. No other bunks were available due to the
       very limited number of rooms. This was followed by 11 hrs rest where I adjusted my sleep
       immediately after arriving to hotel since I was tired. I remember it was just a couple hour
       nap because I had another reserve period at the hotel (R2) at 8 pm that same night. I
       went to sleep sometime early evening then woken up the next morning around 2:30 am to
       operate down to IAH followed by a deadhead up to DFW and arriving at the hotel
       around 1pm Thursday afternoon. On Friday, I had a 10 am wake up to operate up to
       Denver followed by a deadhead up to LAX then Limo over to ONT. originating flight

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 delayed due to late pax, then I missed my DH and had to be rebooked on a different flight
 in a different terminal. I got stuck in a middle seat next to a stinky old overweight man
 that kept bumping me with his elbow. This combined with the screening babies didn't
 allow me to get a little cat nap in. Then the 2 hour car ride over to ONT was in stop and
 go traffic and the driver was not very smooth with the gas or brakes, so no nap there
 either. I arrived at the hotel around midnight. I tried to stay up since I had a 9pm wake
 up that night but I was too tired. I then went to bed and slept hard till around 10:30 am
 Saturday. Now well rested, I couldn't make myself fall back to sleep that afternoon. I may
 have fallen asleep for a couple hours, but I was woke up by the people above me jumping
 or something. But I remember looking at the clock and it was around 8-8:30pm. After a
 nice shower and a few cups of coffee I was good to go. We showed up at the airplane a
 little early and was able to have some more coffee and I felt pretty good. We departed
 Sunday morning on time around midnight. Once airborne, I started to fade. I started
 doing stupid mistakes such as messing up simple math, writing times in the wrong boxes
 in the logbook, missing some radio calls, and forgetting to turn off the landing lights for a
 few hours. Prior to descent, I made a strong cup of coffee, sucked on some oxygen, and
 chewed some gum and I felt more alert. After block in into DFW, we a couple
 maintenance items for the maintenance guys to work on. I thought we had a crew room to
 go to while we waited for the 3 hour turn, but we do not. We have to stay on the plane
 and close the cockpit and turn off the lights and be creative to get in a little cat nap. This
 was not possible because maintenance was in the cockpit testing stuff and warnings
 going off and people coming and going constantly. This is when I really started to feel the
 true effects of fatigue setting in. At 7:15am, I made the decision in the best interest of
 safety to call scheduling and tell them I was too fatigued to continue. Once released, and
 hotel and transportation were arranged, and standing outside by the parking lot, a
 female station rep approached me and informed me that dispatch needed to talk with me.
 It was actually the manager on duty up in New York and he informed me that the chief
 pilot would like to talk to me. Around 7:40am I spoke with Scott Welty briefly. He wanted
 to know the situation and I told him my reasons why I was fatigued. He however did not
 believe me and told me that this was all because of the union and contract negotiations
 and he knows what I am up to because he has seen this before. He made this very clear to
 me as he repeated it at least twice. I told him that this was not the case and I was truly
 fatigued and was too tired to safely fly the plane up to ABE which would have been
 another 3 hour flight. In the best interest of safety, this was the best decision. It was not
 an easy decision. There is a lot of pressure from our managers to move the planes as we
 are approaching a busy flying season and the airline has staffing problems. I surely did
 not appreciate this chief pilot speaking to me in this manor. And I feel he paid no regard
 to the rules of the Atlas FRMP as he called me when I was fatigued and was supposed to
 be in legal rest. It also took 2 hours and 45 minutes from the time I called to the time we
 checked into the hotel. This needs to be improved. The mechanic ended up taking us to
 the hotel since transportation couldn't find the building. I feel if you were to break up the
 trip and change crews in DFW it would be better. Also if you avoided sequence of night,
 day, night flights it would be less fatiguing. There are many hotels right across the street
 from the warehouse that would be an option so the crews can go relax in a day room for
 a couple of hours while the plane is serviced. The break room couch is unacceptable. See
 photo.

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The circumstances related to Captain Nolting’s October 2016 fatigue callout very aptly

demonstrate the scheduling and logistical chaos that Atlas pilots experience. In addition, there

have been multiple fatigue reports concerning this layover in DFW. A night time layover of

three hours is not uncommon in the freight industry. However, in this case, as experienced by

Captain Nolting, the layover must be accomplished in the cockpit, as there is nowhere else to go.

The FRMC has discussed these types of fatigue callouts (especially in DFW) many times but

Atlas does not, or cannot, do much about them. Having attended and participated in these

conversations, Atlas’s intransigence has appeared to be driven by a desire not refuse its

customers’ schedule demands, even though those demands physically can and do wear our pilots

out. This type of behavior seems to be emblematic of Atlas’s attitude towards safety. It

publishes a great many things that exhort pilots to be safe and fit for duty; but when a pilot

actually says he or she is fatigued, as demonstrated by Captain Welty’s unprofessional conduct

in badgering and harassing of Captain Nolting, it confirms the true, cavalier attitude of senior

Atlas and Polar executives towards safety and fitness for duty when it interferes with their

corporate bottom lines. Atlas and Polar have not taken steps to alleviate the chaos that has

plagued their operations long before the parties formally commenced bargaining for a new

collective bargaining agreement; and they appear to have accepted this system-wide disorder as a

cost of doing business. Moreover, in a blatant effort to avoid criticism for its chaotic operations,

they are now unfairly attempting to cast blame on the very pilots who suffer the physiological

and possibly even possibly disastrous consequences of those policies.

       28.     The third fatigue call-out cited by Plaintiffs in their complaint in support of their

accusation that the Union is engaged in a “calculated campaign to cause long delays and




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maximum harm” to Atlas and by Captain Carlson in his declaration in support of Plaintiffs’

motion for preliminary injunction states that:

       On June 22, 2017, a First Officer, who had previously received more than 17 hours of
       rest, waited to call out fatigued until his 10 hours of additional rest would push the
       flight’s delayed departure time into the airport’s curfew period. The timing of this
       fatigue call caused a flight carrying cargo for Nippon Cargo Airlines from Narita, Japan
       to Anchorage to incur a nearly 16-hour delay.

After investigating this accusation, the Union has learned that the pilot who called off fatigued

was First Officer Gerard Riester and the flight from which he called off was Polar Flight No.

7134, an all-cargo flight which was scheduled to fly from Narita, Japan to Anchorage Alaska on

June 22, 2017. First Officer Riester submitted a Fatigue Report to the FRMC. He kept a copy of

the narrative that he included with that report for his records. In his narrative, First Officer

Riester wrote that:

       While at home during days off, I spent a majority of my time dealing with a family issue.
       This also contributed to poor sleep over the preceding 3-4 days prior to my trip. Upon
       arriving at the hotel in CVG, I ate and then went to sleep. Sleep quality was poor. Though
       not a primary contributing factor, the location of the hotel was at play. Police sirens and
       late night shouting in the street woke me up in a couple of occasions.

       I felt sufficiently rested when I got up to operate the flight, and expecting a long rest in
       NRT, I figured I could recover from the cumulative fatigue accrued over the last few
       days. I was pilot flying that day. Take off and cruise were normal. Just before I was going
       to go back to the bunk, an ACARS message came in telling me I had schedule changes
       and would now have a short rest in NRT. I found this extremely distracting as it negated
       my plan to catch up on sleep at the next layover. I spent most of my rest period on the
       plane worrying how I was going to get enough sleep once on the ground. I was afraid if I
       slept too much on the plane, I wouldn't be able to get to sleep quickly when I got to the
       hotel. I did manage to get a short nap in, however, and felt well enough to fly the
       approach and landing. Approach and landing were good and we departed the aircraft
       without incident. Once reaching the hotel, I was still worried about getting to sleep. I felt
       exhausted, but felt like I couldn't relax and switch "gears" mentally into rest mode. I
       opted to grab something to eat thinking it might help me relax and settle down. One of the
       other first officers recommended a place nearby and we preceded to that location. The
       process of getting food and getting back to the hotel took longer than expected and I was
       starting to get concerned about my ability to get good rest at this point. I got in bed with
       less than 7 hours remaining prior to wake-up and though I closed my eyes and felt very
       tired, could not sleep. I think I may have been "trying" to fall asleep, because I knew I

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       didn't have much time left. I laid there periodically checking the clock and becoming
       increasingly concerned. Finally, with just over 5 hours prior to wakeup, I realized that I
       was not going to be able to get enough rest to safely operate the upcoming flight. I felt
       extremely fatigued (run down) at this point, and mentally exhausted. I felt that there was
       no way that I would have been capable of safely operating a flight in that condition. I
       debated whether to wait until wakeup or call at that point, but ultimately decided to make
       the call at that time as I was sure that the situation wasn't going to get any better.

       One small note on the situation. In my opinion/experience, 10 hours CAN be enough time
       to rest for a subsequent duty if all goes perfectly and one has not had an overly fatiguing
       schedule up to that point. However, it is often not sufficient if anything happens to delay
       the moment that one actually gets in bed and/or an individual is already fatigued from
       previous events.

I believe this first officer demonstrates his concern for the safety of the flight by calling off

fatigued regardless of the status of the curfew. Just because an airport has a curfew, are pilots

somehow supposed to be less fatigued? This First Officer describes a bad, exhausting week. He

had to deal with the loss of his father and was not able to rest well while he was still home.

When he arrived at his hotel in CVG for pre-duty rest, he did not get good sleep there either, due

to loud noises on the street due to the location of the hotel. Even then, First Officer Reister says

he felt “sufficiently rested” for the flight and determined that he could mitigate any chronic or

cumulative fatigue during the longer rest he had coming up in Narita. Due to the length of this

flight, he was also looking forward to some inflight rest in the bunk. However, just before he

headed to the bunk to rest he was given an ACARS (inflight text message from the company)

notifying him of a schedule change in NRT that would limit his expected rest severely. This

distracted him enough that he also did not get good inflight rest - thus adding to his cumulative

fatigue. A good inflight rest may have prevented him from sleeping right away once he arrived in

Narita. The schedule change in Narita, however, took away his longer rest so he knew he would

have to get right to sleep once he landed. This is one of the problems with transmitting a

schedule change while the crewmember is operating a flight. It is a distraction and the



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repercussions are amply demonstrated by this crewmembers fatigue report. Rather than any

intent of the crewmember to harm the company, this is a classic case of an ill-trained scheduler

not taking a crewmember’s possible fatigue into account. Crewmembers program their rest, even

planning inflight rest so as to arrive at the destination rested or arrive ready to sleep. Changing of

a schedule, in flight, and shortening recuperative rest is always a bad idea. This was 100% a

company driven fatigue call. He called when he was fatigued. There was no intent here to “wait”

to call fatigued. Atlas’s and Polar’s bald accusation that First Officer Riester’s June 22, 2017

fatigue call-out was due instead to some nefarious plot to cause a long delay and maximum harm

to Atlas and Polar’s operations is simply not true. My conclusion in this regard is based on my

review of First Officer Riester’s fatigue report narrative, my many years as an airman at Atlas

and Polar, and my years of industry-experience, including my years as a representative on the

Atlas FRMC. My conclusion is also supported by the fact that the Atlas FRMC considered and

discussed First Officer Riester’s fatigue report voted unanimously to accept it.


       29.      The fourth fatigue call-out cited by Atlas in its complaint in support of its

accusation that the Union is engaged in a “calculated campaign to cause long delays and

maximum harm” to Atlas and by Captain Carlson in his declaration in support of Atlas’s motion

for preliminary injunction states that:


       On July 1, 2017, a Captain, who had previously received more than 25 hours of rest,
       called out fatigued on a flight carrying 340 military members from Pope Field in North
       Carolina to Hanh, Germany delaying the flight for over nine hours. All 340 military
       members were through passengers, scheduled to travel on from Hahn to Kuwait. As a
       result of the fatigue call, their second flight was delayed over nine hours as well.

After investigating this accusation, the Union has learned that the pilot who called off fatigued

was Captain Kris Lang and the flight from which he called off fatigued was Flight No. 8662, a

passenger flight that was scheduled to carry military passengers from Pope Field, near

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Fayetteville North Carolina, to Hahn, Germany on July 1, 2017. Captain Lang submitted a

fatigue report with the FRMC and kept a copy of the narrative that he submitted with the report

for his records. In his narrative, Captain Lang wrote that:

       On Saturday, July 1, 2017 I was scheduled to operate a PAX flight from POB to HHN.
       The flight was scheduled to depart POB at 0425Z, but actual departure time was 1330Z
       due to my fatigue call. The flight was originally scheduled as a 3 person flight crew.

       I arrived in POB via gateway about 24 hours prior to scheduled departure time. As stated
       in Jeff Carlson's document, I definitely had the opportunity to receive adequate rest.
       However, as I teach in my Human Factors classes, (and Jeff Carlson attended one in
       February as part of his own recurrent training ), adequate rest does not necessarily mean
       actual rest.

       Many factors affect actual rest, including circadian rhythms, shifting day/night cycles
       and amount of manageable sleep one can obtain in a 24 hour window.

       After arriving in POB, I had dinner and went to bed, managing about 8 hours of sleep. I
       had set my alarm for 0600L in order to give myself plenty of wakeful hours during the
       day, to attempt another rest period prior to operating the flight. I had lunch with one of
       the FOs after which I returned to the hotel and went to bed.

       I did not get any useful rest, as my room was located next to the pool, where a large
       group of guests was playing, splashing and listening to loud music.

       As time went on, I realized that I would not be adequately rested to operate. I did check
       my schedule several times, wondering if with 2 other crewmembers I would be able to get
       sufficient rest periods during the flight to manage a safe operation.

       Several hours before wakeup, I noticed that one of the FOs had been removed from the
       schedule – leaving a 2 person crew to operate a nearly 8 hour red-eye flight with 340
       passengers on board. At this time, without any rest possible on the flight, in the interest of
       safety, I decided to call in fatigued.

       Here are the major contributing factors from the company:

       •       none of the flight attendants were made aware of the new/adjusted departure
       time, resulting in the entire group ready to go in the lobby at original departure time.
       During my call to scheduling, I had stressed that the FAs be notified to prevent this
       situation from arising.

       •      The FO that was taken off the schedule arrived in POB late and was not able to
       receive adequate rest. Here the company failed to follow their own guidance, as the



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        station guide clearly states NOT to commercial into RDU when transitioning to POB.
        Because of added travel time via Limo, the FO arrived at the hotel late..

As set forth in Captain Lang’s Fatigue Report, Captain Lang arrived in Fayetteville, North

Carolina on June 29, 2017. He rested and woke up early on June 30, so that he could get more

sleep later in the day prior to his late night flight assignment. He went back to bed in the

afternoon local time, but could not get any sleep because his room was noisy due to children

playing in the hotel pool as well as music and general commotion outside out room. When he

was deciding whether to call off fatigued, Captain Lang checked his schedule and noticed that

one of the two first officers assigned to his Flight No. 8662 had been removed from the flight,

thereby reducing the flight crew from three to two operating pilots. When he saw that

management had reduced the flight crew from three to two operating pilots to fly an nearly eight

hour overnight flight, Captain Lang determined that he would not be fit to fly that flight under

those circumstances because he would be fatigued. He then called the scheduling department

and called out fatigued. Captain Lang’s fatigue report narrative and the circumstances giving

rise to his fatigue callout are not unusual. People who work fixed days and hours in a fixed

location within the same time zone may think that six-to ten-hours of sleep every day is

sufficient rest to function in his or her job, but that is not the case – especially for a pilot who

operates an aircraft on long-haul flights around the world at all hours of the day, rapidly crossing

multiple time zones, with little or no opportunity to rest while operating the flight, as was the

case with Captain Lang, whose nearly eight-hour, overnight trans-Atlantic flight operation was

reduced from three to two pilots. Atlas has readily acknowledged that its worldwide operations

are challenging, and those challenges have a direct physiological impact on Atlas’s pilots.

Captain Lang’s fatigue call and the circumstances giving rise to that call regarding Flight No.

8662 are not unusual; they are a consequence of the challenging nature of Atlas’s and Polar’s

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operations. My conclusion in this regard is based on my review of Captain Lang’s narrative

from his fatigue report, my many years as an airman at Atlas and Polar, and my years of

industry-experience, including my years as a representative on the Atlas FRMC and my

knowledge that the FRMC voted unanimously to accept his fatigue report. Finally, in his

declaration, Captain Carlson mentions the harm to the 340 military service members who were

passengers on the flight. Atlas pilots are among the most professional in the world. As pilots,

we are responsible for safety and lives of the crew members and passengers on our flights, and

all Atlas pilots take this responsibility very seriously. Captain Lang was presented with a

situation in which he had been unable to sleep effectively, for whatever reason. In addition, the

“safety net,” namely, his third crew member, had been removed due to Atlas’s fluid scheduling.

Had I been in that situation, even though I may have been “legal” to fly, I would have done the

same thing as Captain Lang did. I would have done so not to harm Atlas or disrupt its operations

and passengers, but knowing that as the pilot, I am the final link in the safety chain that ensures

the safe arrival of our flight, the safety of our crew members, and the safety and protection of our

cargo and passengers, including our service members.

       30.     The fifth fatigue call-out cited by Atlas in its complaint in support of its

accusation that the Union is engaged in a “calculated campaign to cause long delays and

maximum harm” to Atlas and by Captain Carlson in his declaration in support of Atlas’s motion

for preliminary injunction states that:

       On July 30, 2017, a flight carrying military supplies from Dover Air Force Base in
       Dover, Delaware to Hahn was delayed approximately 13 hours due to two sequential
       fatigue calls by the Captain. The aircraft flew from Miami to Dover after maintenance
       and was expected to be on the ground in Dover just long enough to be loaded. But the
       Captain, after receiving over 54 hours of rest, called in fatigued, and then called in
       fatigued a second time after receiving his additional rest, such that he cumulatively
       received approximately 67 hours of rest. Atlas was unable to assign a replacement
       Captain in order to expedite the departure.

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After investigating this accusation, the Union has learned that the pilot who called off fatigued

was Captain Mitch Simon, and the flight from which he called off fatigued was Flight No. 6760,

which as a cargo flight scheduled to carry military supplies from Dover Airforce Base to Hahn,

Germany, on July 30, 2017. Captain Simon submitted a fatigue report to the FRMC and kept a

copy of the narrative contained in that report for his records. As set forth in his narrative, Captain

Simon explained that:

       I became exhausted after 4-days of training in Miami. My PC warmup had a 0400 show.
       My PC for the next day was scheduled for a 0800 show but was pushed up to 0400.
       I did not get good rest before my PC WU, so I took a nap when I returned to my room.
       When I got up from the nap I noticed my PC time was moved up; I could not fall back to
       sleep. When the ride was complete I was scheduled to return to my base, JFK, and 24
       hours later travel to DOV for a short rest period. I negotiated to go right from JFK to
       DOV because I would receive more rest. If I'd gone home I would receive minimum rest
       even though I was scheduled for 24/7 because of travel time to and from the airport.
       I slept twice - two nights - in DOV and when I got up after the second night I was fully
       rested. At this time I discovered the flight slid 12 hours. I called CS to let them know I
       would be fatigued in 12 hours, that they should activate a reserve crew-member.
       I was told I could not call in fatigue unless I was fatigued. I told them I would call them
       5 minutes before wakeup time which I did. I was so upset by all of this that I could not
       fall asleep for several hours, so 4 hours into my fatigued rest period I had them reset my
       sleep. The flight was from DOV to HHN. It was Basic crew. The FO I was to/operated
       the flight was very new and he had never crossed on a NAT track.

Captain Simon’s narrative from his fatigue report is a typical example of scheduling chaos

regarding Atlas’ and Polar’s operations. The FRMC has attributed hundreds of the fatigue

reports it has received and accepted to scheduling changes, which it refers to as “scheduling

chaos.” In Captain Simon’s case, his fatigue was attributable to numerous rolling scheduling

changes. I reviewed Captain Simon’s final schedule for the month and saw that it showed 28

pages of scheduling changes, with five of those pages coming prior to even leaving on his first

leg. After a week-long training event, he started out at Atlas’s training center in Miami, Florida

and was scheduled to deadhead to JFK Airport in New York. His commercial flight deadheading



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from Miami to JFK changed repeatedly. A review of the changes to his schedule shows he

called out fatigued on the fifth page of those changes. He was deadheading from Atlas’s training

center in Miami, Florida to JFK Airport in New York. Atlas then removed that deadhead flight

from Miami to JFK and directed him to deadhead to Philadelphia and take a limousine from

Philadelphia to Dover Air Force Base, where he was assigned to operate a trans-Atlantic flight to

Hahn Germany. Subsequently, Captain Simon’s flight from Dover to Hahn was delayed or

otherwise un-finalized. The flight was further delayed by another 6 hours and 25 minutes, from

1835Z to 0100Z. The flight was delayed for yet another eight hours and 30 minutes after that for

a delay then totaling 14 hours and 55 minutes. After having incurred repeated, rolling delays and

thereby having to effectively “chase” rest that would have had to be timed to enable him to be fit

and rested to fly a long, trans-Atlantic flight, Captain Simon called in fatigued. The FRMC, Atlas

and Polar management and the Union have all recognized that the Atlas and Polar scheduling

departments’ many changes to the pilots’ schedules, including rolling delays and changes to the

entire pattern of the pilots’ schedules themselves (such as changing a flight assignment from

Asia to North American to a new flight assignment from Asia to the Middle East) are an

important cause of pilot fatigue at Atlas and Polar. In Captain Simon’s case, he incurred a

classic rolling delay. Captain Simon went to sleep to obtain his required ten-hour pre-duty rest

and then woke up to find that his already delayed flight had been delayed for several more hours

and then was delayed for another several hours after that. Having woken up from a restful sleep,

he, like many pilots, simply could not go back to sleep. The result was that he was awake during

the hours which he had planned to be flying, and then had to be awake – and fit for flight duty –

to fly the delayed flight, eight-plus hours later, for a nearly eight hour flight across the Atlantic

Ocean to Hahn, Germany. This added considerable time to his effective duty day.           Under those



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circumstances, therefore, just about the time the pilot can actually go back to sleep, he is

expected to be wide awake, alert and fit to fly. That is not always physiologically possible, and

Captain Simon properly determined that he would not be fit to fly the flight. Captain Simon’s

fatigue call out under the circumstances he faced was neither unusual nor in any way improper.

My conclusion in this regard is based on my review of Captain Simon’s Fatigue Report, my

many years as an airman at Atlas and Polar, and my years of industry-experience, including my

years as a representative on the Atlas FRMC, and my knowledge that the FRMC considered and

discussed Captain Simon’s fatigue reported and voted unanimously to accept it.

       31.     The sixth fatigue call-out cited by Atlas in its complaint in support of its

accusation that the Union is engaged in a “calculated campaign to cause long delays and

maximum harm” to Atlas and by Captain Carlson in his declaration in support of Atlas’s motion

for preliminary injunction states that:

       On August 1, 2017, a flight carrying cargo for Qantas experienced disruptions on two
       separate legs due to a fatigue call after a long rest. The Captain flew from Narita to
       Honolulu, and then had about 50 hours of rest. He then flew from Honolulu to Sydney,
       Australia, and had about 20 hours of rest. He then called in fatigued for his next flight
       from Sydney to Bangkok, Thailand. Fatigue calls in Sydney are especially challenging
       for Atlas because it generally takes a day and a half to two days to obtain a replacement
       crew member since the crew member must first fly all the way to Sydney and then get the
       required pre-duty rest. Due to Sydney curfew rules regulating when Atlas may fly in and
       out of the airport, and Atlas’ inability to replace the Captain, the Captain was given over
       15 hours of additional rest before finally flying the Sydney to Bangkok leg, causing a
       delay of approx. 14.5 hours. As a result of this delay the crew was required to rest in
       Bangkok, and, as a result, the second leg from Bangkok to Shanghai was also delayed by
       over 6 hours.

After investigating this accusation, the Union has learned that the pilot who called off fatigued

was Captain Robert Bellman, and the flight from which he called off fatigued was Flight No.

QF7581. Captain Bellman did not file a fatigue report with the FRMC. He did, however, send




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me a copy of his narrative explaining why he called out fatigued. In that narrative, Captain

Bellman wrote:

       Arrived in SYD at 10:39z. Which was evening time in SYD. Went with the crew for
       dinner. Was out approximately 1 1/2 hours. Returned to the hotel. I went to bed shortly
       thereafter. I was very tired, but sleep just eluded me. I tossed and turned all night. I
       finally gave up on trying to sleep. So went for a walk, had a bite to eat and returned to
       my room. I tried to sleep but didn't fall asleep right away. Eventually I did. When the
       wakeup call came, I was very groggy and could not really think or be coherent. I believe
       that I only slept for 2 or maybe 3 hours. Either way I was not fit for duty. I called
       Scheduling and was on hold for roughly 20 minutes. I hung up and called Atlas Dispatch
       and told them it was urgent that I speak with someone in scheduling. They sent me over
       and I notified them that I wasn’t fit for duty and calling in fatigue. The scheduler read
       through the script that they're required to read and ask. Scheduler set a new departure
       time, I stated that I would call them fit for duty. I didn't realize that scheduling was
       supposed to set a new departure time. So we had a discussion about the new time of
       departure. After the call I slept for a couple of hours and woke up. Feeling a little better.
       I was up for a short time and was ready to sleep again. Confident that I required more
       time for sleep than the new report time would allow I called Scheduling and we agreed
       on a new report time. I rested very well. Felt 100% again and reported for duty as
       agreed.

After reviewing Captain Bellman’s narrative report, I believe that he acted responsibly and the

best interest of safety. Atlas and Polar have readily acknowledged that fatigue calls in Sydney

Australia are especially challenging. And, due to the rapid shift in time zones and due to the

circadian rhythm, fatigue calls in Sydney are not new: Atlas and Polar have been confronted with

them for a considerably long time. Yet they have not done nearly enough to mitigate the

situations that cause fatigue calls that happen there. For instance, despite recommendations that

they place a compliment of reserve pilots there in order to protect flights that will otherwise get

delayed on account of fatigue calls or other reasons, Atlas and Polar have refused to do so. As a

result, when pilots fly across multiple time zones into Sydney and then face layovers ranging

from 18-30 hours, they are at great risk of being fatigued when it is time for them to operate their

next flights. This is especially the case for pilots who travel in to Sydney from long distance

flights, as Captain Bellman did, who flew approximately ten hours from Honolulu to Sydney.

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Regardless of the leading rest he had in Honolulu, two days and multiple time zones previous,

Captain Bellman recognized that he was not fit to fly and he appropriate called off fatigued. In

so doing, he did what the entire FRMC (including the chief pilots and Atlas’s Director of

Operations, Chris, Agnini), have advised the pilots to do. The FRMC determined, during our

meetings, that 10 hours may not be enough time to rest. The FRMC has repeatedly told

crewmembers that if they need more time, within reason, they should request more time. The

FRMC recognized that the ten-hour rest mentioned in the script read by schedulers to pilots who

call off fatigued is only a starting point, and is referenced in order to ensure compliance with the

current (2011) collective bargaining agreement, which requires that a pilot cannot enter rest until

he or she knows his next report time. The FRMC added the statement “if you need more rest,

please let us know as soon as possible” to the script because it recognized that the vagaries of

individual sleep cycles, acclimatization problems, and the current situation with regard to flying

assignments may require greater than ten hours of rest. Long haul pilots can and do get fatigued,

and there is nothing about the circumstances described by Captain Bellman in his report

concerning his August 1,2017 fatigue call-out that shows that his call-out was for any reason

other than the fact that he was exhausted.

       32.     The seventh fatigue call-out cited by Atlas in its complaint in support of its

accusation that the Union is engaged in a “calculated campaign to cause long delays and

maximum harm” to Atlas and by Captain Carlson in his declaration in support of Atlas’s motion

for preliminary injunction states that:

       On August 11, 2017, after receiving nearly 28.5 hours of rest, a First Officer called out
       fatigued from San Juan to Campbell Army Airfield in Hopkinsville, Kentucky, carrying
       military service members. Accordingly, the flight flew with a reduced crew. Due that
       that reduced crew size, FAA regulations required the crew to rest in between the first and
       second legs of the trip, causing an approximately 11-hour delay to the second leg of the
       trip, which was to Seattle for significant deferred maintenance.

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After investigating this accusation, the Union has learned that the pilot who called off fatigued

was First Officer Amanda Kolaric, and the flight from which she called off fatigued was Flight

No. 8673, which was scheduled to carry military passengers from San Juan, Puerto Rico to

Hopkinsville, Kentucky on August 11, 2017. First Officer Kolaric submitted a fatigue report

with the FRMC and kept a copy of the narrative from her report for her records. As set forth in

that narrative, First Officer Kolaric explained that:

       At first when I arrived at the hotel in sju I was given a room on the 4th floor. I checked in
       around 1pm local on 8/9. As soon as I got to my room I heard the noise of construction.
       Constant hammering and machinery. I went back to lobby and told front desk that I
       would need a quieter room as I would be day sleeping the following day to prepare for
       my 0235 L wake up. She told me she would move to a higher floor and on a different side.
       I was moved to the 5th floor. When I arrived to that room the construction noise was
       very faint so I was satisfied with the room. That night i slept well and there were no
       disturbances. The next day 8/10 I went about my normal day typical layover. I woke up
       early, around 0530L and explored the area/hotel to keep busy and so I would be able to
       go to sleep in the late afternoon. At around 1600 local I returned to my room and
       attempted to sleep. There was loud music playing somewhere outside but I tried to tune it
       out. I kept drifting off but was woken numerous times by the music. At around 2030 local
       after I think I had slept for a little while, I was woken by yelling in the hall. I attempted to
       go back to sleep but tossed and turned. Then around 2200 to 2300 all the motorcycles
       started driving on the street below. After that I am not sure when I fell asleep again but
       when the 0235 wake up call came I did not feel at all rested. There were too many
       interruptions and I was not fit to fly. The hotel is comfortable but the location Is not good
       for a good nights rest on certain days of the week.

The circumstances giving rise to First Officer Kolaric’s fatigue call out are not unusual with

respect to Atlas’s and Polar’s operations. In fact, I believe First Officer Kolaric’s actions in

changing hotel rooms are demonstrative of her respect for the Atlas and Polar operations and her

professional concern for safety. Based upon her report, First Officer Kolaric was deprived of

adequate rest during a most fatigue inducting layover period covering 18-33 hours. She was

repeatedly woken up by loud noises outside her room and as a result, she was not fit for duty to

fly her next assigned flight. Based on my review of First Officer Kolaric’s Fatigue Report, my



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many years as an airman at Atlas and Polar, and my years of industry-experience, including my

years as a representative on the Atlas FRMC, First Officer Kolaric’s fatigue callout was the

result of exhaustion due to an inability to secure adequate rest. My conclusion is also supported

by the fact the FRMC unanimously voted to accept First Officer Kolaric’s fatigue report.

       33.     The eighth fatigue call-out cited by Atlas in its complaint in support of its

accusation that the Union is engaged in a “calculated campaign to cause long delays and

maximum harm” to Atlas and by Captain Carlson in his declaration in support of Atlas’s motion

for preliminary injunction states that:

       On August 25, 2017, the Captain who caused multiple lengthy delays in April 2017 (as
       described above) caused yet another delay be calling in fatigued and other actions. He
       was supposed to operate a flight from Greenville-Spartanburg International Airport in
       Greer, South Carolina to Biggs Arm Airfield in El Paso, Texas to position an aircraft for
       a military mission (that he was not flying). Once the aircraft was at Biggs, another pilot
       would fly 256 members of the military to transport them to Kuwait (via Portsmouth, New
       Hampshire and Hahn). The Captain arrived late to Greenville-Spartanburg for a 5 a.m.
       departure and so the airport manager told him that he must have his engines up and
       running by 5:15 a.m. because the airfield would be closing. The First Officer had
       already performed the pre-flight check, but the Captain insisted that they re-do it again
       together, even though nothing so requires. As a result, by the time the Captain was in his
       seat, the airport had closed. Since the airport was re-opening at 9 a.m., the Captain and
       First Officer were told to remain on board, at which point the Captain called out
       fatigued, despite the fact that he previously had 13 hours of rest. As a result, the fight
       was delayed 16 hours, and a return flight of the aircraft transporting an additional 230
       service members home to their families was delayed 12 hours.

Captain Lennox submitted a fatigue report concerning his fatigue call from Flight No. 8885 with

the FRMC, and he kept a copy of the narrative that he included in the report for his records. In

his narrative, Captain Lennox wrote that:

       On August 25, 2017, I reported for my scheduled R3 assignment in CVG beginning at
       0530z and ending at 1130z. At approximately 0925z, I was contacted by crew scheduling
       at was advised that I was being activated to commercial CVG-ORD-GSP where I would
       be put into min rest and then ferry N645GT from GSP-BIF. My commercial flight was to
       depart at 1010z, exactly 45 minutes from when I was initially contacted. I proceeded out
       of the DHL sort facility and waited in the lobby for transportation. Several Executive
       Limo vans arrived, so I went outside and asked the drivers where they were going, but

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 none were there to pick me up, so I went back inside to wait for transportation. At
 approximately 0950z, I called the travel department to inquire about my transportation to
 the terminal. On my first and second call, I was placed on hold for 20 minutes each
 before I hung up. On the third call, I was placed on hold and finally got through to a
 travel at approximately 1115z. Since I missed my flight, I was rebooked on a later flight.
 Transportation arrived and I proceeded to GSP via CLT without further incident.

 I arrived in my hotel room in GSP at 1630z and I immediately contacted scheduling to
 advise them when to begin my 10-hour pre-duty rest period. Again, I was on hold for over
 an hour before a scheduler finally picked up at approximately 1727z. I advised him that I
 wanted to begin my rest period at 1727z. He noted the time down and we ended the call.
 At this point, I was hungry because the last meal I had was dinner the night before. The
 bistro restaurant at the hotel was closed, so I contacted the front desk where I was given
 a few choices of nearby restaurants that delivered to the hotel. A short while later, my
 food was delivered, I ate, then went to bed.

 I received my wake-up call on schedule at 0230z and was downstairs at 0330z. I waited
 in the lobby for approximately 30 minutes and again, tried to contact travel. Again, I was
 on hold for about 20 minutes before I gave up and ended the call. About ten minutes
 later, I did get a call from Lorraine in JND asking where I was. I told Lorraine I was still
 in the hotel lobby waiting for a pickup, she chuckled a little, then said she would get on it.
 At approximately 1445z, the transportation arrived and I proceeded to the aircraft
 without further incident. Upon arrival at the aircraft, I was met by several people waiting
 for me at the stairs. The first gentlemen asked me if I would accompany him to customs to
 sign a permit to proceed to allow the airplane to continue to BIF without being cleaned
 (international trash). I agreed and we left, and I was back at the airplane about 15
 minutes later. As I started up the stairs, a second gentlemen introduced himself as an
 airport maintenance representative and he advised me that the airport was going to close
 in 5 minutes, however, he was going to keep it open so we can depart. I thanked him and
 proceeded upstairs. When I walked into the flight deck, the first officer was sitting in his
 seat waiting for me. We made our brief introductions, and I sat down to get the jet ready.
 While conducting my preflight, we had a brief conversation and he had told me that this
 was his first trip off of OE, and that he’d been at the airplane for almost 90 minutes. I
 continued my preflight while we talked.

 Since the first officer was brand new, he was a bit slower, so I also slowed down a bit
 and took some time to help him with putting the route in the FMC as well as entering the
 performance data. At this time, the airport maintenance representative came into the
 flight deck and asked if we could be on our way in about 10 minutes. I told him that we
 could do that and he left. It was going to by my leg, so I did the takeoff brief, and handed
 the paperwork to the PSR and advised her she could shut the door. She took the
 paperwork and walked out of the flight deck.

 I had just asked for the checklist when the airport maintenance representative came back
 into the flight deck and advised me that he needed to close the runway so they could start
 their work. He advised me the airport would reopen in 3-4 hours. I thanked him for his

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       patience and consideration, and then he left. I had a brief discussion with the first officer
       about the situation and asked him how he was feeling. He said he was a little tired but he
       was okay at the moment. I was also a little tired but I was okay to get the airplane to BIF,
       however, given that I had only had about 3 hours of meaningful sleep at the hotel
       combined with a new departure time of 3-4 hours later, I knew it wouldn’t work. I picked
       up the phone and contacted MOD who then transferred me to Scheduling. I advised
       scheduling that at this point I was tired and was not safe to operate the trip with the later
       departure time. I advised scheduling that I was fatigued and we proceeded with the
       script. Scheduling advised me to stand by as they worked to coordinate transportation
       and hotels for the crew. Upon check-in at the hotel I asked the first officer where he
       stayed the previous night, and his answer was at the hotel we were in. The same hotel
       that I was also in. This is when I put everything together what Lorraine from JND as
       laughing about. The first officer’s wakeup/show time was never adjusted to reflect my
       updated wakeup/show time. He was woken up at the normally scheduled time and took
       the transportation that was set up. This is why there was no transportation for me when I
       came down about an hour or so later.

       Ten hours later, we left the hotel, proceeded to the airplane, and operated the ferry flight
       to BIF well rested and without further complications.

Based on my experience as a professional airman and many years of experience working at

Atlas, when read Captain Lennox’s report, I was concerned that Atlas management had

jeopardized the safety of that flight by virtue of having the First Officer single-handedly perform

the pre-flight check rather than performing that task together with Captain Lennox. Captain

Lennox arrived late the airplane because Atlas management failed to make adjusted

transportation arrangements from his hotel to the airport based on his late arrival to the hotel.

Atlas management also failed to adjust the first officer’s transport time from the hotel and did not

tell him that Captain Lennox would be late arriving at the aircraft due to his late arrival at the

hotel. With the large turnover of crew members at Atlas, the experience level of the first officers

is steadily decreasing. This requires careful monitoring and cross-checking of the first officers

(and likewise the captains who are being upgraded with far fewer years of Atlas flying

experience than historically seen at Atlas). As a result, the FRMC has discussed, agreed, and

many times thereafter reaffirmed its agreement that the preflight check procedures must be, and



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will be, accomplished by both crew members. In fact, our Atlas operational procedures require a

verification (by other pilots) of virtually everything we do in the cockpit. The first officer who

was assigned to operate was “brand new,” and was operating his first Atlas flight after

completing initial training. It is easy for an experienced pilot working alone to make critical

mistakes during pre-flight checks, and it is far easier for a brand new pilot to make such

mistakes. If I had been Captain Lennox’s shoes, I, too, would have redone the preflight check.

The fact that the airport was nearing curfew time should never have, and would not have, made

me change my mind, as I would have been thinking about the safety of the flight, the crew and

the passengers. In fact, several recent briefings from the Atlas Director of Training have

repeatedly and expressly instructed the pilots not to hurry and to do their work correctly. A true

and correct copy of an Atlas Operations bulletin dated September, 26, 2017, the day after this

case was filed in court, is an example. In that bulletin, which was issued in response to “a

number of high profile events at Hong Kong on Arrival and Departure,” including a near miss

crash into the mountain when approaching the Hong Kong airport, Atlas instructed:

       DON’T HURRY
       There are many factors that contribute to errors. In many of the events that have
       occurred recently (and not just in HKG), ATC contributed to the sense of urgency felt by
       the crewmembers in changing and complying with assigned clearances.

       When in doubt, slow down and make the changes methodically, ensuring both
       crewmembers verify that the changes were made correctly. [Emphasis in original]

Thus, with respect to Captain Lennox, the fact that the airport closed before the flight could leave

was not Captain Lennox’s fault but was entirely the result of Atlas’s inability to run its

operations. Moreover, Captain Lennox mentions repeatedly his attempts to contact Atlas’s flight

operations, travel and scheduling departments. The Atlas and Polar operations have grown

significantly and have gotten busier with more flights, more aircraft, more commercial travel,



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different (new) city pairs, and different hotels and limousine transport services. Pilot retention

and attrition challenges, coupled with the increased operations tempo has increased the

scheduling chaos. This has created a need for a larger and better trained scheduling and travel

department, which Atlas seems to be unable, or unwilling, to generate. The result of the shortage

in travel and scheduling personal is an increase in the time an Atlas pilot is kept on hold when

attempting to talk with company representatives regarding any of a myriad of problems

associated with just doing his or her job. In short, Captain Lennox’s fatigue was caused by

Atlas’s scheduling chaos and nothing else. My conclusion in this regard is also supported by the

fact that the FRMC voted unanimously to accept Captain Lennox’s fatigue report.

       34.     The ninth fatigue call-out cited by Atlas in its complaint in support of its

accusation that the Union is engaged in a “calculated campaign to cause long delays and

maximum harm” to Atlas and by Captain Carlson in his declaration in support of Atlas’s motion

for preliminary injunction states that:

       On August 27, 2017, a flight carrying cargo from Sydney to Shanghai was delayed 18.5
       hours due to crew actions. The crew was standing by while maintenance was repairing
       the aircraft. When the aircraft was fully loaded and ready, the crew said it would need
       time to do its checks. Approx. 40 minutes later, the crew, which had previously received
       over 40 hours of rest, called fatigued while they were within their legal duty day. Indeed,
       had they operated the flight, they still would have had 5 hours of legal duty time left in
       their day. After 12.5 hours of rest, the crew was informed of a new departure time
       outside of the Sydney curfew, but they said they were still fatigued, resulting in an
       additional 6-hour delay, causing Atlas’ schedule for this customer to run late for several
       days thereafter. The customer requested that the crew no longer operate flights for the
       customer, complaining that “the lack of customer focus provided by this operating crew
       to the [customer] Freight operation is exasperating and more than disappointing,”
       noting that “there are many questions being asked here in relation to how this could have
       occurred.” Days later, the customer complained that this incident and several other
       fatigue delays in the same week “resulted in one of our lines of flying now being delated
       by 47 hours with no ability to operate on time until mind-next week (i.e., a week and a
       half later).




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After investigating this accusation, the Union has learned that the pilots who called off fatigued

from Sydney to Shanghai Flight No. QF7589 on August 27, 2017 were Captain Barenko, First

Officer Shaw and First Officer Viertel. Each of them submitted fatigue reports with the FRMC

and kept copies of the narratives that they included in their reports for their records. In his

narrative, Captain Barenko wrote:

       1517z -         Received wake-up
       1615z -         Pickup on time
       1700z –         Arrived at A/C
                       1700z - MX was working multiple issues, including hydraulics and aircraft
                       was going to be Substantially delayed precluding all cockpit preflight
                       duties
       0133z -         Received the MX logbook, and review multiple items with MX, including
                       sign offs etc.
       0205z -         Called Fatigue, Crew duty would have exceeded the maximum of 16 hours
                       for a crew of 3 and we were unsafe to accept any extension beyond the
                       maximum.
       0215z -         requested ground transport and hotel arrangements
       0230z -         advised no hotel transport
       0330z -         Hotel transport finally arrived, Hotel desk does not have any ability to
                       arrange transport in Sydney, according to the company transportation
                       desk all transport is handled locally.
       0406z -         arrived at hotel and contacted the company to start rest.
       1416z -         Contacted the company as required, They informed new departure time
                       was going to be at 2000Z
       1420z -         Explained that I was unable to accept a 2000z departure since Pre-Duty
                       rest is required per 12.F.3.1.A
       1421z -         Scheduler (Levon) informs me thats not correct and we were notified of
                       the new departure time when we called fatigue, and again when we
                       checked in at the hotel... We certainly were not!
       1425z -         Scheduler (Levon) comes back on the phone, and informs me yes, the
                       flight will have to depart now at 0200z after getting our required pre-duty
                       rest.
       1425z -         Inform the scheduler to contact the other crew with the changes, and to
                       email me back with the time of those notifications.
       1435z           received email confirming other crew was notified of changes, resumed
                       rest.

In his Fatigue Report, Captain Beranko further wrote:

       Never send a crew to a broken airplane, 16 hours is the limit for a duty day



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       18 hours seems to be treated as the GOAL in cases like this, so why have 16 hours even
       mentioned? 16 hour duty day can be extended, yet there was NO CONTACT with the
       crew to determine if a 2 hour extension was safe? 16 hour duty day is the maximum, yet
       there was no contact with the crew to notify them of the extension, it seems the company
       relies on the 18 hours and completely ignores the 16hour actual limit! Burning a crew
       duty day at an aircraft with a maintenance issue with no known release time. No
       accounting for circadian rhythm as would be the case with passenger operations. My
       circadian rhythm is completely out of phase, adding a mx delay of 6 hours compounded
       the fatigue even more. Travel does not have any idea how to set up transport in Sydney,
       and relies solely on a third party increasing the delays incurred by transport not being
       ready when the third party is unavailable to set it up. Hotels did a great job and had our
       hotel ready for us. Scheduling does not seem to understand the CBA application of rest
       periods, Schedule change notifications and there appears to be a reliance on emails for
       notifications where actual contact is not only beneficial but perhaps even mandatory.
       It seems that a Fatigue call results in treating it as a regular rest period by scheduling,
       and a presumption that the crew will be ready for immediate departure after contacting
       the company after the 10 hours of rest despite the script being very clear to the intent that
       is read to the crew when making the call.

First Officers Shaw and Viertel’s reports, respectively, state as follows:

                                        First Officer Shaw

       1615z           pickup from hotel
       1700z           Arrived at aircraft under heavy MX could not access cockpit with limited
                       space in rear because of MX work going on. Waited over 8 hrs on aircraft
                       for MX to finish before getting into work stations for flight preparation.
       0133z           logbook was cleared and released from MX.
       0200z           Final fuel and loading finished

       Original flight time was scheduled for 9+56 minutes.

                                       First Officer Viertel:

       Woke up on own at 12:45z after 6 hours sleep
       1515z -      Received wake-up
       1615z -      Pickup on time
       1700z -      Arrived at A/C
       1700z -      MX was working multiple issues, including hydraulics and aircraft was
                    going to be substantially delayed precluding all cockpit preflight duties
       0135z        Capt Received the MX logbook, and review multiple items with MX,
                    including sign offs etc.
       0205z -      Called Fatigue, Crew duty would have exceeded the maximum of 16
                    hours scheduled for a crew of 3 and we were unsafe to accept any
                    extension beyond the maximum.
       0215z -      requested ground transport and hotel arrangements

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       0230z -          advised no hotel transport
       0330z -          Hotel transport finally arrived, Hotel desk does not have any ability to
                        arrange transport in Sydney, according to the company transportation
                        desk all transport is handled locally.
       0406z -          arrived at hotel and contacted the company to start rest
       1433z            I was contacted by crew sched vie hotel phone
       1433z -          Explained that I was unable to accept a 2000z departure since Pre-Duty
                        rest is required per 12.F.3.1.A
       1433z -          scheduler (Levon) calls my room to inform me of the changes, and the
                        Times of new wake up and departure.
       1435z -          received email confirming other crew was notified of changes, resumed
                        rest.

Flight No. QF7589 and the fatigue callouts by all three of the operating pilots is a classic case of

Atlas’s and Polar’s scheduling chaos, disregard for crew safety, and the pilots’ federal regulatory

and detailed, contractually-guaranteed, flight duty and rest protections. When Atlas requires

pilots to sit for many hours on an aircraft that is delayed for maintenance, often in the heat or

cold, it jeopardizes the pilots’ safety and is completely inappropriate. The fatigue callouts by the

three pilots are completely understandable and the legitimacy of those callouts is beyond

question. My conclusion in this regard is also supported by the fact that FRMC voted

unanimously to accept all three of the pilots’ fatigue reports.

       35.       The tenth fatigue call-out cited by Atlas in its complaint in support of its

accusation that the Union is engaged in a “calculated campaign to cause long delays and

maximum harm” to Atlas and by Captain Carlson in his declaration in support of Atlas’s motion

for preliminary injunction states that:

       On September 1 and 2, 2017, three pilots called in fatigued for their Hong Kong-Delhi-
       Hong Kong turn. On September 1, a First Officer, who had previously received over 17
       hours of rest, called in fatigued for the Hong Kong-Delhi-Hong Kong flight, causing a 7-
       hour and 35-minute delay in the initial leg of that flight. The next day, Captain Griffith,
       who had previously received 36.5 hours of rest, called in fatigued for that day’s Hong
       Kong-Delhi-Hong Kong flight. Captain Griffith refused to accept an additional 10 hours
       of rest that would have allowed Atlas to set a new departure time, in accordance with
       Company-Union agreed standard operating procedure, insisting instead that he would
       call in and fly when fit, leaving the flight schedule in flux. Ultimately, Atlas found a

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       replacement Captain and scheduled the flight for a two-hour delay. After both of the
       First Officers scheduled for the flight were notified of that 2-hour delay, one of the
       flight’s First Officers called in fatigued. As a result, Atlas operated the flight with one
       less First Officer, which limited the crew’s legal duty time and required an unscheduled
       crew rest in Delhi before the Delhi-Hong Kong leg could fly.

After investigating this accusation, the Union has learned that the First Officer who called off

fatigued from Hong Kong-to-Delhi Flight No. 8137 on September 1, 2017 was First Officer

Antonio Santos. The pilot who called off fatigued on the return Delhi-to-Hong Kong flight on

September 2, 2017 was First Officer Maria Montgomery. Both pilots submitted fatigue reports

with the FRMC and kept copies of their narratives for their records. I have reviewed their

narratives. Captain Griffith also called off fatigued on September 2, 2017. Captain Griffith did

not file a fatigue report, but he did prepare a narrative explaining why he called off fatigued and I

have reviewed that narrative. These fatigue calls described by Atlas and Captain Carlson are

examples of rolling delays caused by poor crew scheduling. Hong Kong is a high volume Atlas

city where Atlas should have reserve pilots. It does not have reserves there and none were

readily available at the time of the fatigue calls and resulting rolling delays. Unlike other air

carriers, Atlas and Polar do not attempt to avoid rolling fatigue calls that happen when one pilot

calls off fatigued. When one pilots calls out fatigued, he must be afforded a minimum of thereby

ten hours of rest. To the extent the carrier does not reassign an available pilot to replace the

fatigued pilot, he flight will be delayed for a minimum of ten hours. In the meantime, the other

pilot(s) scheduled to operate the same flight who had received rest in anticipation of the

originally scheduled departure, now have to try to go back into rest during that delay period. If

they cannot go into rest and remain awake during the delay period, he/they will have to

commence operating a long international flight for many hours just when he/they is/are

beginning to feel tired again. That is what happened on September 1, 2017. First Officer



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Santos’s flight from Hong Kong to Delhi was delayed by seven hours. He was advised by

Atlas’s scheduling department not to leave his rest hotel. The flight was delayed another two

hours. At that time, First Officer Santos would have been ready for sleep again based on his

originally scheduled departure time and his sleep pattern. He therefore called off unfit for duty

due to fatigue. The next day, back in Hong Kong, Captain Griffith also called in fatigued from

the Hong Kong-to-Delhi flight because the flight was delayed eight hours and he, like First

Officer Santos, was rested for the original time and would have been fatigued to operate the

delayed flight. First Officer Montgomery similarly called out fatigued from that flight because

she too had planned her rest for the original departure time and would have had to operate the

flight while she was otherwise ready for rest again. These rolling delays are not unusual at Atlas

and Polar and they are attributable not to gamesmanship by the pilots, but by poor staffing and

scheduling and a lack of understanding of how to staff and use reserves. This conclusion is also

supported by the fact that the FRMC voted unanimously to accept First Officer Santos’s and

First Officer Montgomery’s fatigue reports.

       36.     The eleventh fatigue call-out cited by Atlas in its complaint in support of its

accusation that the Union is engaged in a “calculated campaign to cause long delays and

maximum harm” to Atlas and by Captain Carlson in his declaration in support of Atlas’s motion

for preliminary injunction states that:

       On September 2, 2017, a Captain, who had previously received more than 10 hours of
       rest following a hotel reserve assignment, called in fatigued at 2:10 a.m. for a 6:30 a.m.
       departure, which caused an 8-hour and 40-minute delay of a Boeing flight from Paine
       Field in Washington State to Chubu Centrair International Airport in Japan.

After investigating this accusation, the Union has learned that the pilot who called off fatigued

from Paine Field to Chubu Flight No. 4512 on September 2, 2017 was Captain Gregory Samson.

Captain Samson filed a Fatigue Report with the FRMC and kept a copy of the narrative that he

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submitted with the report for his records. Captain Sampson’s fatigue callout is the direct result

of another longstanding scheduling deficiency of Atlas’s and Polar’s operations, namely, their

poor use of reserve pilots. This issue has also been highlighted many times during our FRMC

meetings. The company insists on adding flights (in reality “schedule changes”) to a reserve.

This leaves the crewmember in a situation where he or she must decide whether to be rested for

the “reserve” duty or for the schedule change after the reserve. The schedulers/planners

incessantly put flights onto a reserve line holder which has the possible repercussions of a fatigue

call - depending on which choice the crewmember makes - rest for reserve, or rest for the flight.

Captain Sampson was faced with this choice on September 2, 2017. As he wrote in his narrative:

       I prepped for R2 to begin on Friday, 01SEP17, 0400L—1800L. At 0627L, I was notified
       of a schedule change consisting of a shortened R2 (ending at 0900L). New Duty was to
       begin at 1955L (w/u at 1825L). I accepted that change with the forethought of a number
       of variables: That I would be able to be rested for the evening departure. That another
       change could occur that would result in my being called out during the amended R2
       period (ending at0900L). That there could be another change in the meantime that would
       affect the evening trip.

       Additionally, less than a year ago, there was a fatigue situation wherein I was advised
       that the Chief Pilots' position on 'foreseeing' a fatigue situation was that Fatigue was to
       be determined at the time Fatigue was being declared. (IOW, wait to see if fatigue is an
       actual issue at, for example, report time.) All of this was considered in my judgement and
       condition that resulted in my Fatigue call.

       At approx 1820L (five minutes prior to the scheduled wakeup time), the PCD indicated a
       change. I checked AIMS to see new report time was 2200L (w/u at 2030L). I did much
       thinking on the situation where I was supposed to begin a new Duty period at the
       opposite side of my sleep cycle (IOW, I was being asked to begin duty at the very time
       that I would naturally be going to bed after being R2 notified at 0627L). The earlier
       departure time would have at least allowed me to handle a preflight at the very end of my
       awake cycle and hope that the other cm's were rested enough to allow me the first break
       in flight. With the delay, that possibility withered significantly as it was (let alone the real
       possibility of further delay that is common for this customer).
       At 1907L, I called Fatigue. I was told that the new Report time will be 1340Z (0640L)
       with a departure time of 1510Z (0810L).

Captain Samson further wrote in his Fatigue Report that he experienced:



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       Radical change of duty period. Right after wakened for R2 callout, was notified that the
       Duty period was going to begin roughly 12-14 hours later. The result was being expected
       to be fully rested for 0400L duty and then be fully rested for 1800L duty

       Suggestions
       Narrative:

       Contemplate and consider sleep cycles. This was a case of the worst possible chance for
       rest. To be sleep-prepared for duty only to then be woken and told to repeat that same
       amount of sleep again almost immediately for duty period that could not have been
       placed more squarely at odds with any sleep cycle.

Based on my review of Captain Samson’s narrative, my many years as an airman at Atlas and

Polar, and my years of industry-experience, including my years as a representative on the Atlas

FRMC, Captain Samson’s fatigue callout was the result of Atlas’s poor scheduling of reserves,

not by Captain Sampson’s desire to cause “long delays and maximum hurt to Atlas’s and Polar’s

operations.” My conclusion in this regard is supported by the fact that the FRMC voted

unanimously to accept Captain Samson’s fatigue report.

       37.     The twelfth fatigue call-out cited by Atlas in its complaint in support of its

accusation that the Union is engaged in a “calculated campaign to cause long delays and

maximum harm” to Atlas and by Captain Carlson in his declaration in support of Atlas’s motion

for preliminary injunction states that:

       On September 9, 2017, a First Officer, who had previously received nearly 45 hours of
       rest, called in fatigued at his scheduled wakeup time, delaying a flight from Kuwait to
       Hong Kong by 8 hours. The aircraft was scheduled to fly from Hong Kong to Cincinnati
       transporting express cargo. As a result of the pilot’s fatigue call, the aircraft, which was
       already delayed due to maintenance and other issues, missed the customer’s sort in
       Cincinnati, and the customer experienced a full service failure. Had the pilot not called
       in fatigued at his scheduled wakeup time, even with the maintenance and other delays,
       the aircraft would have arrived in Cincinnati in time for the customer’s sort.

After investigating this accusation, the Union has learned that the pilot who called off fatigued

from Hong-Kong-to-Cincinnati Flight No. flight 8084/8084A on September 9, 2017 was a first

officer who contacted the Union, including me and my colleague, Laurie Ruiz de Castillo and


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confirmed that he is the individual who descried above. The First Officer asked us not to

disclose his name out of fear of retaliation by Atlas and Polar but he has authorized us to use the

narrative that he had included in the fatigue report that he filed with the FRMC and kept for his

records. The First Officer wrote:

       The bottom lıne is I was chronıcally fatıgued due to beıng gone 24 days wıth different
       schedule changes 15 out of the last 16 days. Upon arrıvıng ın KWI for a roughly 1.5 day
       layover I felt a cold comıng on wıth sore throat and congestıon. I slept 5-6 hours the fırst
       nıght and didn’t leave the hotel room that day tryıng to not overdo ıt and prevent a full on
       cold. The next nıght I slept well and woke up at 830AM stıll wıth a bıt of a sore throat but
       feelıng decent enough to work the flıght to HKG leavıng at 1PM. Not too long after
       wakıng up my PCD went off delayıng the departure 14 hours to 3AM the next nıght. AT 4
       PM I layed down and trıed to go back to sleep so I could be rested for the delayed
       departure. I could not sleep fırstly because I had only been up for eıght hours and also
       because despıte requestıng a lobby room I was gıven a street one whıch was very loud at
       that tıme of day. I packed up my stuff and went to the lobby and told them I had to swıtch.
       Thıs tıme they gave me a lobby room whıch was much quıeter. Unfortunately by thıs poınt
       I was wıde awake and could not fall back to sleep. At 11PM I started to feel tıred but my
       wakeup would be ın 1 hour. If I was to take the flıght I would have started ıt after beıng
       awake for 18.5 hours. The fınal determınıng factor was knowıng that If I pushed myself to
       stay up 27 - 30 hours straıght I would surely have a full blown cold and lıkely not be able
       to complete the next seven days of my pattern. I called ın fatıgued took the mın rest and
       we ended up goıng out about 8 hours late. I slept pretty decent that nıght and my cold
       had not gotten any worse. I defınıtely made the rıght decısıon and am thankful we have
       thıs fatıgue polıcy.

The First Officer further wrote:

       I understand multıple schedule changes are normal for the type of operatıon we have and
       often tımes fınd they can make the paırıngs more excıtıng... Wıth enough advanced notıce
       most of the tıme sleep schedules can be adjusted accordıngly. The bıg problem ıs wıth
       rollıng delays and especıally wıth changes that occur after the crewmember has gone to
       sleep preparıng for the next day. Regardless of whether I am sıck or not. If I start a trıp
       after beıng up for 18 hours or more I am goıng to be fatıgued by the end of ıt. I know thıs
       because at the end of last month I was supposed to have 4-5 days off. Instead I was
       extended 3 days of whıch I just sat ın the hotel ın ICN. The last day I agaın sleep well and
       woke up to found out the departure had been pushed back 12 hours and reduced from 3
       man to 2 man crew (block 7:50). I started the trıp after beıng up 16 hours and was
       exhausted by the end. On top of that It took me about 3 days to feel somewhat rested at
       whıch poınt I was well ınto my next 17 day trıp.... As much as I would lıke to say there ıs
       somethıng I can do dıfferently ın the future to prevent thıs type of fatıgue call To me the
       only real solutıon lıes ın the hands of the schedulers. I thınks ıt would make a dıfference ıf
       For flıght tımes over 7 hours: Delays occurring wıthın 10 hours of departure (the tıme

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       when a crewmember should be sleepıng) should be lımıted to no more than 10 hours past
       the orıgınally scheduled tıme. Otherwıse delay ıt more than 24 hours allowıng the
       crewmember to get another nıght of rest. Another easıer less restrıctıve and more
       operatıonally efficient solutıon would be to allow the crewmember to notıfy schedulıng
       ımmedıately upon receıvıng the change whether or not they wıll lıkely be rested enough
       for the 10 + hours delays. I’ve trıed thıs before but as of now they just say try to get a
       nap let us know later ıf you are fatıgued. Thıs leads to last mınute fatıgue calls whıch can
       really mess up the operatıon.... Thanks for your tıme and I apologize about the
       grammar...thıs foreıgn keyboard does not have commas :)

The First Officer’s narrative describing his schedule changes in 15 of his last 16 days of work,

rolling delays, and his battle to avoid getting sick speaks volumes about the scheduling chaos

that has existed at Atlas and Polar for many years; and which Atlas’s and Polar’s management

readily acknowledge contribute significantly to the number of fatigue calls made by the pilots.

The First Officer’s fatigue, as described in his narrative, is palpable and entirely understandable.

His fatigue callout can be directly attributed to Atlas’s and Polar’s scheduling chaos and not to

some plot conveniently hatched by management to avoid responsibility and accountability to its

customers on account of their scheduling and staffing problems. In fact, the First Officer

demonstrates his concern for the operation and his professionalism by “packing up” and going to

the hotel lobby to request a quieter room. Pilots hate to “drag bags” once settled in a room. We

only want to pack up once – to leave. Packing his stuff and going to the hotel lobby to request a

quieter room shows that his concern is not to harm Atlas but for the safety of the flight – in fact,

therefore, to protect Atlas. My conclusion in this regard is supported by the fact that the FRMC

voted unanimously to accept the First Officer’s fatigue report.

       38.     The thirteenth fatigue call-out cited by Atlas in its complaint in support of its

accusation that the Union is engaged in a “calculated campaign to cause long delays and

maximum harm” to Atlas but not referenced by Captain Carlson in his declaration in support of

Atlas’s motion for preliminary injunction states that:



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       On September 24, 2017, a First Officer called out fatigued “mid-pattern” for a DHL
       flight. Upon arrival from Sydney to Melbourne, Australia, where the aircraft was making
       a scheduled stop of less than 2 hours, the First Officer advised that he was too fatigued to
       fly the next leg of the trip from Melbourne to Shenzhen, China. Prior to the trip, the First
       Officer had over 36 hours of rest, including a full 24 hours when he was free-from-duty,
       and he would have received an inflight rest on the trip from Australia as well. The
       Melbourne to Shenzhen flight took a delay of over 10 hours as a result of the fatigue call.

After investigating this accusation, the Union has learned that the pilot who called off fatigued

from Melbourne-to-Shenzhen Flight No. PO257 on September 24, 2017 was First Officer

Samuel Hoffman. First Officer Hoffman filed a Fatigue Report with the FRMC and kept a copy

of his narrative from the report for his records. In his narrative, First Officer Hoffman wrote:

       The layover in SYD was scheduled to be 36 hours after the delay departing HNL. It
       should be enough. I planned to implement my rest similarly to the same flight a week
       prior, as it worked well for me. The morning prior to the flight I awoke at around 0230
       local and occupied myself until the hotel began serving breakfast. After a good meal with
       my crew we decided to go for a walk together. After the walk I ate a small lunch and
       returned to my room to rest. However, even with the room quiet and dark I found myself
       feeling fully awake. I tried reading, as that usually helps, but no luck. I only started
       feeling tired after our wake up call. After we taxied to the gate in MEL, fatigue really set
       in as I was approaching nearly 24 hours awake. I knew another leg to SZX was out of the
       question.

I do not know First Officer Hoffman but have no reason to doubt that he was fatigued he called

off from Flight PO257. His plan to enter into rest did not work even though it had worked the

prior week. I am not surprised by that, however, as pilots are not yet robots and are subject to

the same human conditions, including fatigue, as everyone else. If I had been in First Officer

Hoffman’s shoes after having been awake nearly 24 hours and facing a long haul flight to China,

I would also have called out fatigued. First Officer Hoffman’s decision to call out fatigued due

to legitimate reasons is also supported by the fact that the FRMC voted unanimously to accept

his fatigue report. Finally, the FRMC would have categorized First Officer Hoffman’s report a

“one off,” meaning that there were no causal factors but that pilot simply could not sleep.

Contrary to the implication of Captain Carlson’s declaration, this does not mean that First

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Officer Hoffman was trying to harm Atlas. Rather, he is trying, to the best of his ability, to

ensure that he is fit for duty and, in a word, safe, so that the very long flight from Melbourne to

Shenzhen is conducted safely. Pilots are the last link in the safety chain and I believe a

declaration such as the one reference in this document, from their boss Captain Carlson, the Vice

President of Operations, chills their willingness to comply with the FARs and FAA guidance

requiring them to declare they are not fit for duty due to fatigue.

       39.     The fourteenth and last fatigue call-out cited by Atlas in its complaint in support

of its accusation that the Union is engaged in a “calculated campaign to cause long delays and

maximum harm” to Atlas and which is cited by Captain Carlson in his declaration in support of

Atlas’s motion for preliminary injunction states that:

       Defendants have encouraged pilots to call out fatigued, even if they are not in fact
       fatigued, as one pilot expressly told Atlas on July 22, 2017. On that date, after a First
       Officer called out fatigued for a flight, Atlas’ crew scheduling dept. called another First
       Officer who was scheduled to ride as a passenger on that flight to see if he would be able
       to pilot it instead. At first the pilot agreed to fly the route, but later called back and said
       “I was talking to the union and they wanted me to call and tell you that I needed 10 hours
       of pre-duty rest prior to my schedule change per the contract, and just to check if you
       guys are aware of that.” Sections 12.E.1 and 12.F.3 of the CBA, however, do not require
       10 hours of rest and permit pilots to choose to accept less than 10 hours of rest. As a
       result of this fatigue call, Atlas ultimately was forced to assign another pilot to fly the
       route and took a delay instead.

I am not aware of any activity by the Union encouraging pilots to call off fatigued even if they

are not fatigued. Moreover, after investigating the Plaintiffs’ and Captain Carlson’s accusation

regarding a July 22, 2017 flight, the Union has learned that the pilot whom they claim told them

that the Union had expressly instructed him to call out fatigued was a young, new hire, First

Officer who was still on probationary status. The new hire first officer met Captain Ian

DePledge and another First Officer in the lobby of the Cordis Hotel in Hong Kong and told

Captain DePledge that he “guessed” he had just been assigned to operate the flight from Hong



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Kong to Seoul to Anchorage with him and the other First Officer, Ben French. He further stated

that the Atlas scheduling department had recently (at, or close to, wakeup) changed his schedule

to reflect that he would operate the flight as a flying pilot rather than deadhead on the flight, as

he had originally been scheduled. Captain DePledge and First Officer French were concerned

that the Atlas scheduling department had bullied the new hire First Officer to agree to this

change to his schedule, from a deadheading status to an operating status, without the safety of the

contractually required pre-duty rest. This is because a pilot assigned to deadhead on a flight is

not necessarily (nor required to be) sufficiently rested to actually operate the aircraft. He or she

may well have gone out to a later dinner or engaged other personal activities with the expectation

that he or she would be able to rest as a passenger in the back of the aircraft. In my experience,

the re-assignment of deadheading pilots to operating status without pre-duty rest is dangerous

and unsafe. While Section 12 of the current (2011) collective bargaining agreement does allow

less than 10 hours of minimum rest in some circumstances, there is nothing in that section that

allows pre-duty rest to be shortened unilaterally by the Atlas scheduling department. Pre-duty

rest can only be shortened by a prospective agreement between the Union and the company, with

crewmember concurrence, to 8 hours. Based on my inquiry regarding the July 22, 2017, flight,

the Union steward who spoke with the new hire First Officer was correct in his interpretation of

the Section 12 of the collective bargaining agreement. Further, Captain DePledge and First

Officer French were both rightly concerned that the Atlas scheduling department was trying to

take advantage of a new pilot on probation and coerce him to change his scheduled status from

deadheading passenger to operating pilot and in so doing, place himself and his fellow crew

members at potential risk. The actions of the Union and Captain DePledge and First Officer

French do not evidence some kind of scheme to encourage pilots to call off fatigued even when



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they are not, but instead evidence a conscientious adherence to safety. And, in fact, the actions

of the union steward demonstrate exactly what a union and a collective bargaining agreement is

for – to ensure the safety of the worker. Once again, the crew is often the last link in the safety

chain. It is significant that after the first new hire first officer asked to be removed from Captain

DePledge’s Hong Kong-to-Seoul-to-Anchorage flight, the scheduler called yet another new first

officer, who was deadheading on the Hong Kong-to-Bahrain flight and coerced him into

dragging his bags from one airplane to the other. This is dangerous and unsafe. Here is what

that that First Officer, Edward Ojeda, has explained:

       Here is what happened on July 22, 2017 (Z date).
       I was sitting in the back of an Atlas 744 in Hong Kong, ready to deadhead to Bahrain. I
       was given a cell phone and it was Amir from Scheduling. He said he needed me to now
       operate a flight from Hong Kong (HKG) to Seoul, S. Korea (INC) to Anchorage. I was
       caught off guard and later realized that they were supposed to give me at least 10 hr pre-
       departure crew rest. I was driven over to the 748 (N958GT) and operated the trips with
       Capt. DePledge and FO Ben French.

To me, this highlights the day-to-day schedulers’ lack of concern, or lack of training, with

respect to fatigue-inducing trip changes. It again highlights why it is necessary for the Captains

and crewmembers to be highly cognizant of their fitness for duty with respect to rest. Contrary

to the insinuations and accusations contained in Captain Carlson’s declaration, this event,

including Captain DePledge’s conversation with the new hire first officer who declined the trip,

was not some nefarious act by someone trying to harm Atlas’ operations, but a genuine concern

for the safety of the operation as well as the individual.

       40.     The fatigue call outs cited by the Plaintiffs and Captain Carlson in support of the

Plaintiffs’ motion for a preliminary injunction as examples or evidence of the Union engaging in

such conduct do not evidence any such activity by the Union. As discussed above, Atlas and

Polar have been experiencing stressed and greatly challenged operational difficulties long before



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the Union filed notice to amend the pilots’ collective bargaining agreement. Those difficulties

are attributable to a number of operational shortcomings related to Atlas’ and Polar’s tremendous

expansion of aircraft and business while not having a sufficient number of pilots to staff its fast-

growing operations, coupled with significant pilot turnover, training delays and an overall

reduction in the experience levels of its pilot workforce. I have been discussing with senior

Atlas officials the rising curve of fatigue reports and fatigue incidents with respect to Atlas’s and

Polar’s global schedules. I have discussed, for instance, that there are more fatigue reports at the

end of the month as well as during the transition into following month. I also have pointed out

there also seems to be a correlation between number of open time trips offered (an indicator of

greater chaos in the operation) and fatigue reports. All of this has caused what Atlas’s and

Polar’s senior management have recognized and characterized as “scheduling chaos.” Rather

than tackle their operational difficulties and scheduling chaos directly and honestly, Atlas and

Polar appear determined to deflect the responsibility for their own deficiencies on their pilots and

the Union. That is no way to run an airline.

         I declare under penalty of perjury under the laws of the United States that the foregoing

statements are true and correct.

Dated:                                                        Signed


_____________________                                         ____________________________




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         Page 1 of 2       Administrative Bulletin                        AB13-17
         Effective: 04 DEC2013

                   Fatigue Risk Management (6/6)
         Bulletin Purpose: Inform Crewmembers about the new rules
         addressing Pilot Fatigue and their future implications.

         This is the final of a six part, monthly informational bulletin series.
         Part 117 is just over the horizon and the Company is ready for
         implementation on January 4th, 2014.
         • Company Fatigue Risk Management Plans (FRMP) are in place which
           show Company senior management commitment; scope, policies and
           procedures for measuring, assessing, mitigating and evaluating fatigue.
         • All employees providing management and/or directly involved in
           operational control have received the necessary training.
         • Fatigue Education and Awareness training has been incorporated into
           Company training curriculums and is on-going for initial and recurrent
           training.
         • Crew rest facilities have been identified on all Company aircraft.
         • OpSpecs are signed.
         Due to the dynamic nature of our operations the Company intends to mix
         Crews occasionally between Part 121 and Part 117, even within the same
         trip. Crew Resources is in the final stages of implementing Part 117 in
         conjunction with part 121 rules in Airline Information Management System
         (AIMS).
         The Company has worked extensively with AIMS to ensure the system
         properly applies Part 117 to passenger operations and Part 121 to Cargo
         operations. Legalities will be applied to the each flight as follows:
         • Cargo - Part 121 block time and limits will apply.
         • Passenger - Part 117 block, Flight Duty Period (FDP), and Cumulative
           FDP/block times will apply.
         How FDP or block hours are accumulated is not relevant; i.e., 32 in 7 is
         applied to a cargo flight, however the source of those 32 block hours
         (passenger or cargo) is not considered. Hours may be a result of only
         cargo, only passenger, or both.
         Similarly, Cumulative FDP limits for passenger flights will be based upon
         the combination of Passenger and Cargo FDP to determine whether a
         Crewmember is legal or not legal for the upcoming passenger flight.
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         2 of 2           Administrative Bulletin                                          AB13-17
    Effective: 04 DEC 2013
    Crewmembers will see several changes coming to eCrew in the coming
    weeks to improve your visibility to the new regulations. Below are some
    highlights of the new functionality that you will see in eCrew:




        Black “down arrow” points to the “Allowable FDP” field required for Part 117 passenger
        flying.
        Black “horizontal arrow” points to a “black rectangle” containing no “Allowable FDP”
        information. As Cargo Operations and associated cargo deadheading are regulated under Part
        121, this field remains blank.
        Blue rectangle contains “Allowable FDP” information for Part 117 passenger operations.
        Green circles indicate an “acclimated” pilot for Flight Duty Period (FDP) departure. Note
        “19:00 Allowable FDP” and “IAH” circled as departure point and “location of acclimation”.

        Red circles indicate an “unacclimated” pilot for Flight Duty Period (FDP) departure. Note
        “Allowable FDP of 1800U”. The “U”(red up arrow) after the “1800” indicates that the pilot is
        “unacclimated” for the departure at “LAD”. “IAH” (red circle) is the “location of acclimation”
        for this pilot. Local IAH times are used for entry into the Flight Duty Period Table to determine
        the maximum “Allowable FDP”.
    It is important that Crewmembers increase knowledge and awareness of
    Fatigue Risk Management and the soon to be implemented flight duty
    limitations and rest requirements (Part 117).
    Recommended reading:
    • Advisory Circular, 117-2; Advisory Circular 120-130A.
    • FAR 117
    • InFO 10017
    • Atlas Fatigue Risk Management Plan
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                 Fatigue Risk Management Plan
                                            Revision 5
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                               Authority and Responsibility
     The Senior Director, Flight Operations, as the Content Authority, is responsible for
     the accuracy of all content, as well as ensuring content meets with all regulatory
     requirements. The Senior Director, Flight Operations, as the Content Owner, is
     responsible for the creation of manual content.
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                                         GENERAL
     Revisions provide new or revised procedures and information. Flight Operations
     uses the revisions as a basis for updating this manuals. Revisions also incorporate
     appropriate information from previously issued bulletins, when applicable.
     Revisions include a Transmittal Letter, Revision Highlights, a Revision Record and
     a current List of Effective Pages. Use the information on the List of Effective Pages
     to verify the operations manual content.


                               REVISION HIGHLIGHTS
     Pages containing revised material have revision bars associated with the changed
     text or illustration. Editorial revisions (for example, spelling corrections) may have
     revision bars with no associated highlight. Because of changes to document
     spacing, pages may be reprinted with no change to content and without change
     bars or highlights.
      • 14 CFR Part 117 language has been added throughout this manual in
        compliance with 117 passenger operations.
      • 1.1.1 - Updated language and grammar.
      • 1.1.2 - Updated language and grammar. Added Fatigue Call Policy to FRMP
        elements.
      • 1.2.2 - Updated language and grammar.
      • 1.2.3 - Updated language and grammar. Content shifts from 1.2.3 to 1.2.4.
      • 1.2.4 - Updated language and grammar. Content of 1.2.5 shifts up to 1.2.4
        after deletion of Fatigue Reporting System from 1.2.5.
      • 1.2.4 - Removed “Fatigue Reporting Policy” and relocated to 1.5.1 under
        “Fatigue Reporting Process”.
      • 1.3.1 - Updated language and grammar.
      • 1.3.2 - 1.3.3 - Removed “FRMP Element Review”.
      • 1.4 - Added Fatigue Call Policy. Previous content shifts to 1.5.
      • 1.5 - Added Fatigue Report Policy. Previous content shifts to1.6.
      • 1.6.7 - Updated language.
      • 1.7.3 - Updated language under "Duty Day and Rest Requirements".
      • 1.8.1 - Updated language and grammar. Added Fatigue Risk Management
        System (FRMS) language.
      • 1.8.2 - Removed Fatigue Reporting Process. Relocated to 1.5.1 - Fatigue
        Report Policy.
      • 1.9.1 - 1.9.2 - Updated language.
      • 1.10.1 - Updated language. Deleted language.




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            Preface
            Bulletin Record
        Bulletin Record




                                            GENERAL
        Limitations (tab)

        Bulletins to provide important information to Flight crews. Bulletins are dated and
        numbered sequentially. Each bulletin identifies areas affected by the bulletin.
        Bulletins not listed in the record should be removed.
        When a bulletin includes replacement pages, the included pages should be filed.
        Bulletin status is defined as follows:
           • In Effect (IE) – the bulletin contains pertinent information that may not be
             covered in the FCOM. The bulletin remains active and should be retained
             in the manual.
           • Incorporated (INC) – the bulletin operating information has been
             incorporated into the FCOM. The bulletin remains active and should be
             retained in the manual.

        Active Bulletins
                          Number     Subject               Date                 Status




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            Fatigue Risk Management Plan
            Introduction                                                                     1.1
        Introduction




                                         INTRODUCTION
        Atlas Air, Inc. (Atlas), a Part 121 air carrier, is wholly owned by Atlas Worldwide
        Holdings, Inc. Atlas operates a mixed fleet of Boeing 747 and 767 aircraft.
        Atlas offers a wide range of air cargo and aircraft operating solutions that include:
            • ACMI, where customers receive a dedicated aircraft, crew, maintenance and
              insurance on a long- term lease basis.
            • CMI Service, for customers that provide their own aircraft (e.g., SonAir, on
              behalf of the U.S. - Africa Energy Association, and the Boeing LCF
              program).
            • Express Network and Scheduled Air Cargo Service.
            • Military Charters, for both cargo and its passenger service
            • Commercial Airlift Review Board (CARB) approval.
            • Commercial Cargo Charters.
            • Passenger Charters.
        The SonAir aircraft operate private charter passenger operations on a Houston –
        Luanda – Houston route structure; the Department of Defense passenger service
        operate under the AMC bid award system which includes a majority of the world
        wide Military route structure. Flight segments are primarily long haul operations to
        international airports.
        Atlas operations are authorized and conducted in accordance with specific
        authorizations, limitations, and procedures in the approved Operations
        Specifications (OpSpec A001) and all appropriate parts of the Code of Federal
        Regulations (CFR). Atlas is an air carrier operating:
            • Domestic operations in common carriage pursuant to 14 CFR Part
              119.21(a)(1)
            • Flag operations in common carriage pursuant to 14 CFR Part 119.21(a)(2)
            • Supplemental operations in common carriage pursuant to 14 CFR Part
              119.21(a)(3)




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                                  FRMP STRUCTURE
      This Fatigue Risk Management Plan (FRMP) is authorized by Operations
      Specifications A317 and is compliant with the requirements of FAA INFO 10017.
      This FRMP consists of the following elements:
      1.   Senior Level Management Commitment to Reducing Fatigue and Improving
           Flight crew Member Alertness
      2.   Organization’s Scope and Fatigue Management Policies and Procedures
      3.   Fatigue Call Policy
      4.   Fatigue Reporting Policy
      5.   Flight Time and Duty Period Limitations
      6.   Rest Scheme
      7.   Fatigue Reporting System
      8.   Fatigue Education and Awareness Training
      9.   Fatigue Incident Reporting
      10. System for Monitoring Flight Crew Fatigue
      11. FRMP Evaluation




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           Fatigue Risk Management Plan
           Commitment to Managing and Mitigating Fatigue                                   1.2
        Senior Management Commitment




                                       COMMITMENT STATEMENT
        Company Safety Commitment
        Safety is a vital component of our mission. Senior management is committed to
        safety and making safety excellence an integral part of all flight and ground
        activities through the proper establishment and support of safety policies,
        procedures, and programs.
        All Atlas employees shall be reminded of their obligation to safety and the
        competitive advantage an excellent safety record brings to our operation.
        Accordingly, we will set safety goals and regularly review these goals to promote
        the highest standards.
        We ask that each employee accept the responsibility to communicate any
        information that may affect the integrity of safety. In return, management will
        provide resources to ensure immediate action is taken when safety matters are
        identified, or unacceptable risk is discovered.
        The Company and Union (IBT) agree, through the Memorandum of Understanding
        (MOU), that no punitive action will be taken against any employee for reporting a
        safety concern or event. Employees who are involved in intentional violations of
        regulations / policies / procedures, intentional disregard for safety, involve criminal
        activity, substance abuse, or who intentionally falsify, will be subjected to
        disciplinary action up to and including discharge.
        The Fatigue Risk Management Plan (FRMP) as described in this document is an
        essential building block to increasing safety in our operation. As such, Atlas and its
        management are committed to implementing this FRMP and its processes in a
        timely manner.




        John W. Dietrich
        Executive Vice President and Chief Operating Officer
        Atlas Air, Inc.




        23 AUG 13                                                                        1.2.1
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     Commitment to Managing and
      Mitigating Fatigue
      Flight Operations Safety Commitment
      Atlas is committed to managing and mitigating all aspects of Crew fatigue, and
      utilizes every means available; ensuring Crew members are fully alert for each
      aspect of their assigned duties. Atlas supports a safety culture that is non-punitive,
      non-retaliatory, and is structured to promote the highest level of safety and
      compliance with all applicable policies, procedures, and regulations.
      From the highest level, the Atlas Management team ensures that employees
      receive all necessary tools to complete missions safely and efficiently. Atlas
      maintains a safety culture as a set of enduring values and attitudes regarding the
      importance of safety, and this culture is shared by every member at every level of
      our organization. Safety culture is widely recognized as critical to the success of
      fatigue prevention and in the continuing education of these goals.
      Atlas features a risk-based approach to safety management, which requires all
      stakeholders share responsibility for minimizing risk and increasing safety. This
      approach works particularly well for managing fatigue. Atlas Management has a
      responsibility to create a work environment that minimizes fatigue-related risk, and
      all employees have an obligation to ensure that time away from work is used
      appropriately. Spreading responsibility for fatigue risk management across the
      entire organization represents a significant shift in thinking. Managers and
      supervisors at all levels are responsible for taking prompt, consistent, and
      appropriate action whenever they believe an employee is not fit for duty. The
      action(s) to be taken are contained clearly and consistently in all documentation,
      including policies and procedures. The aim of all actions should be to maintain and
      promote the highest level of safety.
      The Atlas Director of Operations is accountable for the Atlas Flight Crew Fatigue
      Risk Management Plan. The Atlas Fatigue Risk Management Plan (FRMP)
      Manager has responsibility for the oversight of the day-to-day FRMP process. The
      Corporate Safety Department is responsible for risk management, corrective
      action follow up, quality control, compliance, and internal evaluation of the
      plan.
      Atlas Flight Operations is committed to establishing and promoting an open safety
      reporting process that allows all Crew members to report any condition, action, or
      process which adversely affects flight crew fatigue.




      James S. Ridgway
      Senior Director, Flight Operations, Atlas Air, Inc.
      Atlas Air, Inc.




      1.2.2                                                                      13 SEP 16
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                                                                                Mitigating Fatigue
         Fatigue Program Review
         Atlas utilizes Web Based Application Tool (WBAT), a comprehensive aviation
         safety reporting software developed in partnership with the FAA. This system
         design supports submission and analysis of ASAP Reports, Fatigue Reports, and
         Safety Assurance Reports. This reporting system, to the greatest extent possible,
         solicits detailed fatigue information to aid in the follow up investigation and root
         cause analysis of each fatigue event. The FRMP Manager working with the Fatigue
         Review Team (FRT) will be responsible for the initial review of all fatigue reports.
         The FRMP Manager will coordinate with Flight Operations Management, the
         Corporate Safety Department, and the Union Safety Representative on a quarterly
         basis (more frequently if necessary) with the purpose of making several key
         decisions (e.g., report acceptance, corrective action, and recommendations for
         fatigue mitigation) and determinations (e.g., root cause analysis, risk assessment)
         during the report review process. Although the specifics of the process may vary,
         this fatigue review will adopt a process that is consistent from one report to the next
         to help ensure that each fatigue report is reviewed thoroughly.
         All reports will be evaluated for acceptance by the Corporate Safety
         Department. Once a report is accepted, the FRMP Manager will then conduct a
         root cause analysis leading to possible corrective actions, i.e., Company
         recommendations or fitness for duty. All Company recommendations will be
         submitted to the Director of Operations.

         Safety Culture
         Safety Culture or “Just Culture” is the set of enduring values and attitudes
         regarding safety, shared by every member of every level of an organization. It
         allows for all employees to openly convey any actual, potential, or perceived safety
         risk to a manager, supervisor, or, in the case of flight operations, the pilot in
         command, in a non-punitive, non-retaliatory manner. Atlas supports and strives to
         maintain an environment that supports a just culture. Effective safety programs are
         based in a company culture that integrates safety and risk management tools into
         every facet of the operation. Within a Company, culture shapes attitudes, beliefs
         and behaviors. A non-punitive reporting program for all employees is essential to
         the success of our “Safety Culture”.
         Reports are thoroughly reviewed and, if necessary, actions are taken to correct
         identifiable deficiencies. Atlas employees will not be exposed to discipline or
         enforcement for submitting “voluntary” safety reports. Communication and trust are
         essential elements of this culture so that our employees will continue to report
         perceived deficiencies and problems. The organization, to the greatest extent
         possible, communicates with employees about issues and corrective actions.




          13 SEP 16                                                                       1.2.3
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      Mitigating Fatigue
      This additional level of “safety performance monitoring” that is provided within our
      Safety Culture generates substantial benefits beyond those provided by simple
      compliance with flight/duty-time regulations. For Atlas and it’s Crew members, the
      term “safety performance monitoring” is used to cover the internal reporting
      mechanisms associated with all safety-related activities, including the monitoring
      of fatigue. The benefit this culture has brought to the Company has produced
      substantial returns many times over, especially considering the unique and
      challenging nature of Atlas operations.
      All employees are encouraged to report safety-related concerns through the
      available reporting mechanisms. It is of particular note that all reporting systems
      are non-punitive in nature, subject to the following limitations:
       • Must not involve intentional disregard for safety
       • Must not involve intentional violation of regulations
       • Must not involve criminal activity
       • Must not involve substance abuse
       • Must not have been intentionally falsified
      This culture helps align organizational efforts toward the ultimate goal of improved
      safety. When employees are consulted throughout the development of the policy
      and are supportive of the process, we find it more likely they will take a positive,
      proactive approach to fatigue risk management at the individual as well as
      organizational levels.
      Atlas management support comes from the highest level. Non-punitive employee
      reporting is highly encouraged, reports are thoroughly reviewed, and support and
      resources for appropriate corrective action(s) related to the reports must be
      provided. Even beyond employee reporting, this culture must be subject to
      constant scrutiny and adjustments by those within management responsible for
      oversight.




      1.2.4                                                                    13 SEP 16
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            Fatigue Risk Management Plan
            Fatigue Management Policy and Procedures                                     1.3
        Fatigue Management Policy and Procedures




                               FRMP SCOPE AND FATIGUE MANAGEMENT POLICY
        FRMP Scope and Objectives
        The FRMP will utilize safety monitoring programs to detect and resolve all fatigue
        risk associated with flight operations. These programs will include the events as
        reported, operational observations, and crew input to ensure the principles of an
        effective Safety Program are applied to fatigue risk mitigation.
        This fatigue-related data will be analyzed by the FRMP Manager / FRMC. Once
        data has been effectively reviewed and a decision to implement change is made,
        then the final step will be to implement a comprehensive fix.
        The Company recognizes the shared responsibility of Management and Crew
        members in fatigue management. Atlas will include assessments on each
        fatigue-related event to ensure the true nature of the fatigue is determined and both
        parties are upholding their responsibilities in reducing fatigue risks.
        The objectives of the FRMP are to outline Atlas’s management policies and
        procedures for reducing the risks of flight crew member fatigue and to improve
        flight crew member alertness.
        The goal of the FRMP is to enhance the safety of the flying operation at Atlas
        through flight crew fatigue awareness education/training and mitigating flight crew
        fatigue risk to an acceptable level.
        The FRMP is applicable to all Atlas pilots and Atlas Flight Operations Management
        pilots.

        Fatigue Mitigation
        All related Flight Operations manuals and documentation adopt the methodologies
        of a robust safety program that will identify and mitigate factors contributing to
        fatigue within our operations. The Fatigue Risk Management Plan (FRMP) will
        contain all required information. It will be accessible for all Company employees
        through the Company’s web site (GlobalNet).
        Fatigue process measurements as described in the applicable FAA Guidance and
        FRMP are used to measure and assess processes, to identify and correct
        problems, and to make improvements. Process measurements will be
        implemented where risk analysis has indicated that the likelihood and severity of a
        fatigue hazard resulting from failure to comply with a particular policy, procedure,
        or instructional/informational requirement are determined to warrant the application
        of a process measurement.




        13 SEP 16                                                                      1.3.1
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     Fatigue Management Policy and
     Procedures
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      Risk assessment and analysis for fatigue risk will be the responsibility of the FRMP
      Manager and the FRMC. If at any time the likelihood and severity of a risk is
      identified as unacceptable, findings will be identified and listed in the safety
      database along with recommended corrective actions and assigned a follow-up
      action to ensure the findings are corrected. In addition, an analysis will be
      accomplished in order to identify the “root cause” of the problem while maintaining
      the “Just Culture” environment. If needed, the process will be modified to ensure
      that the root cause of the problem is corrected. Process measurements are
      conducted by the Corporate Safety and Internal Evaluation department, Ref FRMP
      Evaluation Program.
       • Fatigue-related data sources will be evaluated for overall trends by the
         FRMP Manager and FRMC utilizing existing and future risk mitigation
         strategies.
       • Fatigue will be evaluated at the same level as flight safety risk in all other
         operational aspects.
       • All reports will be monitored by each Flight Operations Manager to ensure
         applicable resolutions are being implemented to satisfy the specific event.
      Trends that point toward systemic fatigue risks will be immediately reviewed and
      evaluated using existing and future management safety practices.

      Safety Objectives
      Atlas FRMP contains safety objectives and provides a definition of the fundamental
      approach Atlas has adopted for managing fatigue within our organization that
      includes:
       • A fatigue policy that clearly defines our philosophical approach to safety and
         the performance goals currently established.
       • FAA System Safety attributes and constructs.
       • Safety performance measurement.
       • Non-punitive disciplinary policy (within a “just culture”).
       • A written description of the fatigue management system elements.
       • Motivate safe actions through the establishment of a dynamic corporate
         Safety Culture; identify fatigue hazards; monitor fatigue data feeds to
         validate effectiveness; and communicate the results throughout all
         applicable departments.
      The Corporate Safety Department is tasked to fulfill the following strategic
      objectives and policies:
       • Verify that all departments are tailored to current operations and future
         plans.
       • Determine whether all departments have adequate resources for current
         operations.
       • Evaluate the effectiveness of ongoing audit structures within all
         departments.
      Atlas Flight Operations Management will enhance awareness and education
      regarding each crew member’s responsibility to report rested and fit for duty.

      1.3.2                                                                     13 SEP 16
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            Fatigue Risk Management Plan
            Fatigue Call Policy                                                            1.4
        Organization’s Fatigue Call Policy




                                             ORGANIZATION’S FATIGUE CALL POLICY
        General
        No Crewmember should operate a flight if, at any time, the safe outcome of the
        flight is in question due to fatigue. Crew members who judge their capability to be
        impaired by fatigue must immediately notify Crew Scheduling and they will be
        removed from flying duties without question.
        Anticipated fatigue calls are calls in which a pilot is predicting he or she will be
        fatigued for a future operation. Anticipated fatigued calls are not legitimate fatigued
        calls. As standard, the Duty Pilot will give the pilot the choice of either being
        removed from his pairing and offered an adequate rest break or continuing his
        pairing and calling in when he or she is actually fatigued.
        Crew input is essential for the growth and effectiveness of this safety program.
        Crew members are encouraged to call Crew Scheduling and advise when the
        potential for fatigue is identified. Each call will be examined closely by the Fatigue
        Manager to determine fatigue potential and crewing implications.
        Note: Crew members are encouraged to submit a Fatigue Report via WBAT as
              a supplement to each call related to fatigue.
        Upon receipt of each fatigue call, the Fatigue Review Team (FRT) and Fatigue Risk
        Management Committee (FRMC) will review the facts surrounding each fatigue call
        to determine the root cause of the problem and develop preventive actions.

        Fatigue Call Policy
        When a Crew member is or becomes fatigued close-in to, during, or after a trip or
        training event, that Crew member must call Crew Scheduling fatigued and advise
        that he or she is unable to start or complete the assigned flight duty. Each fatigue
        call is accepted without question; Crew Scheduling will not discuss the implications
        to the operation or attempt to pressure the pilot to continue.
        Upon completion of 10 hours of assigned rest, each Crew member will receive an
        email requesting he/she contact the Chief Pilot's Office for the purpose of assisting
        and applying corrective actions.
        "Group" fatigue calls shall not be accepted. Each Crew member who is part of a
        Crew compliment must affirm to Crew Scheduling that he or she is unfit for duty as
        a result of fatigue.

        Fatigue and Training
        When a Crew member is or becomes fatigued close-in or after a training event, that
        Crew member must call Crew Scheduling fatigued and advise that he or she is
        unable to start or complete the assigned training period.




         13 SEP 16                                                                       1.4.1
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     Fatigue Call Policy              Page 20 of 44
      Crew Scheduling will work with Training Scheduling to update the Crew pattern.
      Note: Fatigue calls days prior to a training activity (anticipated fatigue calls) are
            not legitimate fatigued calls.
      Each fatigue call will be accepted without question. Fatigue information will be
      communicated to Training Scheduling by Crew Scheduling. Training Scheduling
      will update the fatigued Crew member's training status.




      1.4.2                                                                       13 SEP 16
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            Fatigue Risk Management Plan
            Fatigue Reporting Policy                                                      1.5
        Organization’s Fatigue Reporting Policy




                                            ORGANIZATION’S FATIGUE REPORTING POLICY
        Fatigue Reporting Policy
        After each fatigue call, the Crew member calling in fatigued shall receive an
        automated report requesting submission of a fatigue report. The Company
        requests that each Crew member calling in fatigued assist the Fatigue Review
        Team (FRT) and Fatigue Risk Management Committee (FRMC) in mitigating
        fatigue by submitting a report within 72 hours (3 days).
        All reports, regardless of when they are submitted, will be accepted and reviewed
        by the FRMC.

        Fatigue Reporting Process
        The Web-Based Analysis Tool (WBAT) is used by the Company to maintain an
        open communications policy for reporting fatigue and other safety-related issues.
        The Safety department has established a program that provides employees with a
        confidential safety reporting program.
        All Crew members are encouraged to report fatigue occurrences via WBAT. The
        form can be completed by accessing the Fatigue Reporting System via Crew
        Corner on GlobalNet.




        When submitting reports, employees can choose to either use their names or file
        anonymously.
        The program is designed to encourage an open exchange of information in
        identifying hazardous situations and developing corrective actions. All fatigue
        reports will be received by the FRMP Manager / Fatigue Risk Management
        Committee (FRMC) for review and action.




         13 SEP 16                                                                    1.5.1
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     Fatigue Reporting Policy

      Abuse of Fatigue Policy
      Fatigue calls which are determined to be in abuse of the Company Fatigue Policy
      shall be forwarded to the FRT. The FRT, comprised of representatives from the
      International Brotherhood of Teamsters (IBT), Chief Pilot’s Office and Company
      management shall review each report and reach out to the pilot if necessary for
      understanding and corrective action. Fatigue report information shall be forwarded
      the Pilot Fatigue Program Director.
      It is of particular note that all fatigue reporting systems are non-punitive in nature,
      subject to the following limitations:
       • Must not involve intentional disregard for safety
       • Must not involve intentional violation of regulations
       • Must not involve criminal activity
       • Must not involve substance abuse
       • Must not have been intentionally falsified




      1.5.2                                                                       13 SEP 16
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            Fatigue Risk Management Plan
            Flight Time and Duty Period Limitations                                                                        1.6
        Flight Time and Duty Period Limitations




                                                       FLIGHT TIME AND DUTY LIMITS
        Atlas Flight and Duty Limitations


                                                   Collective Bargaining Agreement (CBA) Rules
                                                     Atlas Flight and Duty Limitations (Part 121)
                                                      Duty day          Operating     Duty day       Minimum Rest (release to
                                                   operating - or -    followed by    Deadhead              report)
                                                     Deadhead           Deadhead        only
                                                    followed by
                                                     operating

                Two Person                        14 hrs extendable      18 hrs          20 hrs      10 hrs     Duty <18 hrs
                  Crew                                to 16 hrs                      extendable 22
                                                                                          hrs

             Three Person                         16 hrs extendable      20 hrs                      12 hrs    Duty 18 - 20 hrs
                 Crew                                 to 18 hrs

               Four Person                        20 hrs extendadble     20 hrs                      14 hrs     Duty > 20 hrs
                  Crew                                 to 22 hrs

            Note: Trip pairing consisting solely of domestic segments shall follow
                  minimum rest in accordance with applicable FARs.
        The Company will not schedule, and Crewmembers may not accept, an
        assignment for flight time that exceeds flight time duty period limitations of the
        Federal Aviation Regulations. The Company will not schedule, and a Crewmember
        may not accept, a rest period in violation of the Federal Aviation Regulations.
        Crewmembers are responsible for compliance with all Federal Aviation
        Regulations pertaining to flight limitations and rest requirements. Reference FAR
        Part 121 Subpart Q and R for cargo operations; FAR Part 117 for passenger
        operations.
        For passenger operations Duty means any task that a Flight Crewmember
        performs as required by the certificate holder, including but not limited to flight duty
        period, flight duty, pre- and post-flight duties, administrative work, training,
        deadhead transportation, aircraft positioning on the ground, aircraft loading, and
        aircraft servicing.
        For passenger operations Flight Duty Period (FDP) means a period that begins
        when a Flight Crewmember is required to report for duty with the intention of
        conducting a flight, a series of flights, or positioning or ferrying flights, and ends
        when the aircraft is parked after the last flight and there is no intention for further
        aircraft movement by the same Flightcrew. A flight duty period includes the duties
        performed by the Flight Crewmember on behalf of the certificate holder that occur
        before a flight segment or between flight segments without a required intervening
        rest period.


         13 SEP 16                                                                                                      1.6.1
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     Flight Time and Duty Period
     Limitations
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      Intermixing of Part 121 and Part 117 Operations
      Due to the dynamic nature of our operations the Company will mix Crews
      occasionally between Part 121 and Part 117, even within the same trip.
      The Company has worked extensively with Airline Information Management
      System (AIMS) to ensure the system properly applies Part 117 to passenger
      operations and Part 121 to cargo operations. Legalities will be applied to the each
      flight as follows:
       • Cargo - Part 121 block time and limits will apply.
       • Passenger - Part 117 block, Flight Duty Period (FDP), and Cumulative
         FDP/block times will apply.
      Crew Scheduling will perform validations against the type of flight each
      Crewmember is scheduled to fly; i.e., passenger validates under Part 117 and
      cargo validates under Part 121. Look back limitations will be cross-applied:
       • Cargo and passenger FDPs will be combined to validate the legality of
         passenger FDPs (cumulative limits).
       • Passenger and cargo block times will be combined to validate cargo flights
         ("30 in 7", "32 in 7").
      Mixed Rest Rules




      How FDP or block hours are accumulated is not relevant; i.e., 32 in 7 is applied to
      a cargo flight, however the source of those 32 block hours (passenger or cargo) is
      not considered. Hours may be a result of only cargo, only passenger, or both.
      Similarly, Cumulative FDP limits for passenger flights will be based upon the
      combination of Passenger and Cargo FDP to determine whether a Crewmember
      is legal or not legal for the upcoming passenger flight.




      1.6.2                                                                   28 SEP 14
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                                                 Flight Time and Duty Period
                                                                                                       Limitations
          Several changes to e-Crew have been made to improve Crewmember’s visibility to
          the new regulations. Below are some highlights of the new functionality in e-Crew:




              Black “down arrow” points to the “Allowable FDP” field required for Part 117 passenger
              flying.
              Black “horizontal arrow” points to a “black rectangle” containing no “Allowable FDP”
              information. As Cargo Operations and associated cargo deadheading are regulated under Part
              121, this field remains blank.
              Blue rectangle contains “Allowable FDP” information for Part 117 passenger operations.
              Green circles indicate an “acclimated” pilot for Flight Duty Period (FDP) departure. Note
              “19:00 Allowable FDP” and “IAH” circled as departure point and “location of acclimation”.

              Red circles indicate an “unacclimated” pilot for Flight Duty Period (FDP) departure. Note
              “Allowable FDP of 1800U”. The “U”(red up arrow) after the “1800” indicates that the pilot is
              “unacclimated” for the departure at “LAD”. “IAH” (red circle) is the “location of acclimation”
              for this pilot. Local IAH times are used for entry into the Flight Duty Period Table to determine
              the maximum “Allowable FDP”.




          28 SEP 14                                                                                        1.6.3
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     Flight Time and Duty Period
     Limitations
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      Flight Time Limitation
      FAR117.11
      The certificate holder may not schedule and no Flight Crewmember may accept an
      assignment or continue an assigned flight duty period if the total time:
       • Will exceed the limits specified in Table A of Part 117 if the operation is
         conducted with the minimum required Flightcrew.
       • Will exceed 13 hours if the operation is conducted with a 3-pilot Flightcrew.
       • Will exceed 17 hours if the operation is conducted with a 4-pilot Flightcrew.
      If unforeseen operational circumstances arise after takeoff that are beyond the
      certificate holder’s control, a Flight Crewmember may exceed the maximum flight
      time specified in paragraph (a) of this section and the cumulative flight time limits
      of 117.23(b) to the extent necessary to safely land the aircraft at the next
      destination airport or alternate, as appropriate.
      Each certificate holder must report to the Administrator within 10 days any flight
      time that exceeded the maximum flight time limits permitted by this section. The
      report must contain:
       • A description of the extended flight time limitation and the circumstances
         surrounding the need for the extension; and
       • If the circumstances giving rise to the extension were within the certificate
         holder’s control, the corrective action(s) that the certificate holder intends to
         take to minimize the need for future extensions.
      Each certificate holder must implement the corrective action(s) reported in
      paragraph (c)(2) of this section within 30 days from the date of the extended flight
      time limitation.

      Flight Duty Period: Unaugmented Crew
      FAR 117.13
      Scheduled revenue passenger flights that remain solely within the contiguous 48
      states of the United States and the District of Columbia are considered to be
      Domestic operations and the regulations contained in Part 117 apply with regard to
      Flight Duty Period.
      The certificate holder shall not assign and no Flight Crewmember may accept an
      assignment for an unaugmented flight operation if the scheduled flight duty period
      will exceed the limits of Table B of Part 117.
      If the Flight Crewmember is not acclimated:
       • The maximum flight duty period in Table B of Part 117 shall be reduced by
         30 minutes.
       • The applicable flight duty period is based on the local time at the theater in
         which the Flight Crewmember was last acclimated.




      1.6.4                                                                      13 SEP 16
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                                                               Limitations
         Flight Duty Period: Augmented Crew
         FAR 117.17
         For flight operations conducted with an acclimated augmented Flightcrew, no
         certificate holder may assign and no Flight Crewmember may accept an
         assignment if the scheduled flight duty period will exceed the limits specified in
         Table C of Part 117.
         If the Flight Crewmember is not acclimated:
          • The maximum flight duty period in Table C of Part 117 is reduced by 30
            minutes.
          • The applicable flight duty period is based on the local time at the theater in
            which the Flight Crewmember was last acclimated.
         No certificate holder may assign and no Flight Crewmember may accept an
         assignment under this section unless during the flight duty period:
          • Two consecutive hours in the second half of the flight duty period are
            available for in-flight rest for the pilot flying the aircraft during landing.
          • Ninety consecutive minutes are available for in-flight rest for the pilot
            performing monitoring duties during landing.
         No certificate holder may assign and no Flight Crewmember may accept an
         assignment involving more than three flight segments under this section.

         Domestic Operation
         FAR 121.471
         Scheduled revenue flights that remain solely within the contiguous 48 states of the
         United States and the District of Columbia are considered to be Domestic
         operations and the regulations contained in Part 121, Subpart Q, apply with regard
         to flight time limitations.
         No Crewmember will fly more than:
          • 1,000 hours in any calendar year
          • 100 hours in any calendar month
          • 30 hours during any 7 consecutive days
          • 8 hours between required rest periods
         Crewmembers will not accept a flight assignment if, during the 24 hours preceding
         the scheduled completion of the flight, he/she has not received at least:
          •   9 consecutive hours of rest for less than 8 hours of scheduled flight time.
          • 10 consecutive hours of rest for scheduled flight time over 8 hours, but less
            than 9 hours.
          • 11 consecutive hours of rest for 9 or more hours of scheduled flight time.
         These rest periods may be reduced under the following conditions:
          • A 9 hour rest period may be reduced to a minimum of 8 hours if the
            Crewmember is given a rest period of at least 10 hours that must begin no
            later than 24 hours after commencement of the required rest period.

         28 SEP 14                                                                           1.6.5
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     Flight Time and Duty Period
     Limitations
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       • A 10 hour rest period may be reduced to a minimum of 8 hours if the
         Crewmember is given a rest period of at least 11 hours that must begin no
         later than 24 hours after commencement of the required rest period.
       • An 11 hour rest period may be reduced to a minimum of 9 hours if the
         Crewmember is given a rest period of at least 12 hours that must begin no
         later than 24 hours after commencement of the required rest period.
      In any case, Crewmembers will receive at least 24 consecutive hours of rest during
      any 7 consecutive days.

      Two Pilot Crew
      FAR 121.481
      No Pilot will fly as a Crewmember more than:
       • 1,000 hours during any 12-calendar-month period
       • 100 hours during any one calendar month
       • 32 hours during any 7 consecutive days
      Crewmembers may be scheduled for 8 hours or less during any 24 consecutive
      hours without a rest period during these 8 hours. If a Crewmember is scheduled to
      fly more than 8 hours during any 24 consecutive hours, he will be given an
      intervening rest period at or before the end of 8 scheduled hours of flight duty. The
      rest period must be at least twice the number of hours flown since the last rest
      period, but not less than 8 hours.
      If a Crewmember has flown 8 or more hours during any 24 consecutive hours, he
      will be given at least 18 hours of rest. In any case, Crewmembers will receive at
      least 24 consecutive hours of rest during any 7 consecutive days of operating.

      Two Pilots and One Additional Crewmember
      FAR 121.483
      No Pilot will fly as a Crewmember more than:
       • 1,000 hours during any 12 calendar month period
       • 300 hours during any 90 consecutive days
       • 120 hours during any 30 consecutive days
      Crewmembers will not be scheduled for a total of more than 12 hours in any 24
      consecutive hours. If a Crewmember has flown 20 or more hours during any 48
      consecutive hours, or 24 or more hours during any 72 consecutive hours, he will
      be given at least 18 hours of rest. In any case, Crewmembers will receive at least
      24 consecutive hours of rest during any 7 consecutive days.




      1.6.6                                                                     28 SEP 14
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                                                 Flight Time and Duty Period
                                                                                      Limitations
          Three or More Pilots and an Additional Flight Crewmember
          FAR 121.485
          No Pilot will fly as a Crewmember more than:
          • 1,000 hours during any 12 calendar month period
          • 350 hours during any 90 consecutive days
          The Company shall schedule its flight hours to provide adequate rest periods on
          the ground for each pilot who is away from his base and who is a pilot on an
          airplane that has a crew of three or more pilots and an additional flight
          Crewmember. It shall also provide adequate sleeping quarters on the airplane
          whenever a pilot is scheduled to fly more than 12 hours during any 24 consecutive
          hours. Upon return to his base from any four man flight over 12 hour block time or
          series of flights, Crewmembers will be given a rest period that is at least twice the
          total number of hours he flew since the last rest period at his base. During this rest
          period he will not be required to perform any duties.This rule does not apply for
          flights scheduled for 12 hours or less (see OpSpec A005 exemption 9825).
          If the required rest period is more than 7 days that portion of the rest period in
          excess of 7 days may be given at any time before the Crewmember is again
          scheduled to fly.

          Pilots not regularly assigned
          FAR 121.487
          Pilots who is not regularly assigned as a Flight Crewmember for an entire calendar
          month under §121.483 or 121.485 may not fly more than 100 hours in any 30
          consecutive days. Pilots not regularly assigned conducting passenger operations
          must comply with Part 117 flight duty and rest requirements as applicable.

          Supplemental Operations
          FAR 121.503-525
          All cargo operations conducted under Supplemental rules of FAR Part 121 are
          conducted using flight and duty rest rules of FAR Part 121 as appropriate under
          subpart 119. Pilots conducting passenger operations shall comply with Part 117
          flight duty and rest requirements as applicable.




          13 SEP 16                                                                       1.6.7
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           Fatigue Risk Management Plan
           Rest Scheme                                                                       1.7
        Rest Scheme




                            ORGANIZATION’S REST SCHEME
        Rest Scheme
        Rest is the time a Crewmember is free from actual work or the present
        responsibility for work should the occasion arise. Crewmembers rest period is the
        time between release from the last duty period until the report for the next duty
        period.
        A Crewmember on reserve or standby is not in rest if he has a present
        responsibility for work in that he has to be readily available for flight notification.
        Time spent in deadhead transportation to or from a duty assignment is not
        considered rest.
        Transportation to and from lodging is included in the rest period provided the
        lodging is local in character. Time spent in transportation not local in character that
        the Company requires and provides, to and from flight assignments is not
        considered part of a rest period.
        It is the Crewmember's responsibility to notify the Company of any circumstances
        that have adversely affected receiving minimum rest (e.g., excessive time clearing
        customs, lost luggage, transportation, lodging problems, etc). The Company will
        not assign, and Crewmembers will not accept, any duty during a required rest
        period.
           • Required rest for operations under 121.471, 121.481, 121.483, 121.485,
             117.13, 11715, 117.17. In accordance with Subpart 119 and applicable
             FARs, all Crewmembers operating Supplemental flights will rest as per Part
             121, Subpart Q and R, for cargo operations.
           • Crewmembers operating passenger flights will rest as specified in Part
             117.25.
           • Atlas provides hotel rooms for all Crew members on layover at domicile and
             away from domicile and all Short Call Reserve duty. CBA language dictates
             quality, security, and amenities for each hotel
           • The Company provides Class 1 rest facilities on 747-400P, -400F, and -8
             aircraft, providing maximum rest opportunities for operating crew.
           • The Company provides Class 2/3 rest facilities on 767-300P and -200P
             aircraft, providing maximum rest opportunities for operating crew.
           • Atlas provides sleep facilities at many of the major operating stations
           • Hotel accommodations will be provided by the Company for all layovers and
             scheduled rest periods of six and a half hours or more (measured from
             release to report) that occur away from a Crewmember’s base.

        Hotel accommodations
        Hotel accommodations provided to Atlas Crewmemebers are:
           • Provided on a single occupancy basis, with a private bath.

        13 SEP 16                                                                          1.7.1
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     Rest Scheme                     Page 32 of 44
       • In a Collective Bargaining Agreement (CBA) compliant hotel where
         Crewmembers may obtain adequate rest.
       • Located within 30 minutes travel time from the airport unless the layover
         time is scheduled for 24 hours or more, or no suitable hotel is reasonably
         available within 30 minutes.
       • In an area considered safe with adequate security and fire protection.
       • Within areas of general entertainment and shopping.
       • Atlas provides hotel rooms for all crew members on layover at domicile and
         away from domicile. CBA language dictates quality, security, and amenities
         for each hotel.

      Duty Day and Rest Requirements (Passenger Operations.)
      Rest for Flight Crew assigned or scheduled for reserve
      Hotel accommodations provided to reserve Crewmembers are provided with a
      CBA-compliant hotel room, including an 1:45 notification for report time.
      FAR 117.21
      All reserve is considered long-call reserve unless specifically designated by the
      Company as airport/standby or short-call reserve. All time spent in reserve status
      is part of the flight duty period.
      For short call reserve, the reserve availability period may not exceed 14 hours.
      For a Flight Crewmember who has completed a reserve availability period, the
      certificate holder may not scheduled and no Flight Crewmember may accept an
      assignment for a reserve availability period unless the Flight Crewmember
      receives the required rest in Part 117.25.
      For an unaugmented operation, the total number of hours a Flight Crewmember
      may spend in a flight duty period and a reserve availability period may not exceed
      the lesser of the maximum applicable flight duty period in Table B of this part plus
      4 hours, or 16 hours, as measured form the beginning of the reserve availability
      period.
      For an augmented operations, the total number of hours a Flight Crewmember may
      spend in a flight duty period and a reserve availability period may not exceed the
      flight duty period in Table C of this part plus 4 hours, as measured from the
      beginning of the reserve availability period.
      For long call reserve, if a certificate holder contacts a Flight Crewmember to assign
      him or a her to a flight duty period that will begin before and operate into the Flight
      Crewmember’s window of circadian low, the Flight Crewmember must receive a 12
      hour notice of report time from the certificate holder.
      A certificate holder may shift a reserve Flight Crewmember’s reserve status from
      long call to short-call only if the Flight Crewmember receives a rest period as
      provided in Part 117.25.




      1.7.2                                                                       28 SEP 14
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                                                                      Plan
                                                               Rest Scheme

          FAR 117.25
          No certificate holder may assign and no Flight Crewmember may accept
          assignment to any reserve or duty with the certificate holding during any required
          rest period.
          Before beginning any reserve or flight duty period a Flight Crewmember must be
          give at lease 30 consecutive hours free from all duty within the past 168
          consecutive hour period.
          If a Flight Crewmember operating in a new theater has received 36 consecutive
          hours of rest, that Flight Crewmember is acclimated and the rest period meets the
          requirements of paragraph (b) of this section.
          If a Flight Crewmember travels more than 60° longitude during a flight duty period
          or a series of flight duty periods that require him or her to be away from home base
          for more than 168 consecutive hours, the Flight Crewmember must be given a
          minimum of 56 consecutive hours of rest upon return to home base. This rest must
          encompass three physiological nights rest based on local time.
          No certificate holder may schedule and no Flight Crewmember may accept an
          assignment for any reserve of flight duty period unless the Flight Crewmember is
          give a rest period of at least 10 consecutive hours immediately before beginning
          the reserve or flight duty period measured from the time the Flight Crewmember is
          released from duty. The 10 hour rest period must provide the Flight Crewmember
          with a minimum of 8 uninterrupted hours of sleep opportunity.
          If a Flight Crewmember determines that a rest period under paragraph (e) of this
          section will not provide eight uninterrupted hours of sleep opportunity, the Flight
          Crewmember must notify the certificate holder. The Flight Crewmember cannot
          report for the assigned flight duty period until he or she receives a rest period
          specified in paragraph (e) of this section.
          If a Flight Crewmember engaged in deadhead transportation exceeds the
          applicable flight duty period in Table B of Part 117, the Flight Crewmember must be
          given a rest period equal to the length of the deadhead transportation but not less
          than the required rest in paragraph (e) of this section before beginning a flight duty
          period.

          Duty Day and Rest Requirements (Cargo Operations Only)
          CBA Section 12 and FARs govern all Atlas duty day and rest requirements for
          passenger and cargo operations. Atlas CBA duty day and rest limitations are as
          follows:
          • Day/Night, Domestic or International (2-Man) – 14 extendable 16 hours
          • Day/Night, International (3-Man) – 16 extendable 18 hours
          • Day/Night, International (4-Man) – 20 extendable 22 hours
          • Domestic Rest as per 121.471
          • International Rest – 12 hours block to block (10:00 release to report)




          13 SEP 16                                                                       1.7.3
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     Rest Scheme
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       • Minimum Rest Period shall be extended by one (1) hour; if any duty period is
         extended by sixty-one (61) minutes, the Minimum Rest Period shall be
         extended by two (2) hours).
       • Scheduling of flight crews, ensures each flight crew member is relieved from
         all duty for at least 24 consecutive hours during any seven consecutive days
       • Atlas provides sleep facilities at many of the major operating stations and the
         CBA language requires a hotel room for any ground time greater than 6:30.
       • Atlas Maximum monthly duty days – 17
      Rest for Flight Crew assigned or scheduled for reserve
      Hotel accommodations provided to reserve Crewmemebers are provided with a
      CBA-compliant hotel room, including an 1:45 notification for report time. A 24-Hour
      free from duty is given for more than six consecutive days on reserve.
      A Crewmember shall not be assigned to more than sixteen (16) consecutive hours
      of R-2 status.
      Short Call Reserves are given defined schedules of reserve periods with at least 8
      hours rest every 24 hours.
      Rest for augmented Flight Crew
       • Atlas requires a relief pilot on all flights over eight hours block time.
       • Atlas requires two relief pilots on all flights over 12 hours block time.
       • Class 1 rest facilities exist on 747-400P, -400F, and -8F aircraft, providing
         maximum rest opportunities for operating crew.
       • Class 2/3 rest facilities exist on 767-300P and -200P aircraft, providing
         maximum rest opportunities for operating crew.




      1.7.4                                                                          13 SEP 16
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            Fatigue Risk Management Plan
            Fatigue Reporting                                                            1.8
        Fatigue Reporting




                            ORGANIZATION’S FATIGUE REPORTING
        Fatigue Reporting System
        Incorporating fatigue related data from current programs such as ASAP, ASRS,
        and the WBAT system will enable the Crew members to have full reporting
        capability. We plan to utilize the WBAT for the purpose of data collection tools to
        process and categorize all fatigue-related reports.
        Data Collection will include but not be limited to:
           • Physical symptoms
           • Fatigue symptoms
           • Rest/Sleep information
           • Job performance
           • Time zones crossed
           • Geographical considerations
           • Commuting
           • Diet

        Data Collection
        Data collected from the FRMP process will be stored/archived and used to pursue
        an Fatigue Risk Management System (FRMS) when needed.
        Data will be used in the fatigue process measurements to measure and assess
        processes, to identify and correct problems, and to make improvements. Process
        measurements will be implemented where risk analysis has indicated that the
        likelihood and severity of a fatigue hazard resulting from failure to comply with a
        particular policy, procedure, or instructional/informational requirement are
        determined to warrant the application of a process measurement.
        Atlas will provide a separate fatigue event report that will be made available to the
        crew members to report instances of fatigue.
           • Administration of these events will utilize the same methodology supported
             by the WBAT Fatigue Reporting system.
           • The Atlas FRMP Manager / FRMC will be tasked with evaluating each report
             and determining an appropriate comprehensive fix and resolution.
           • Instances of fatigue resulting from lack of responsibility by a Crewmember to
             report rested for duty will be reviewed by the FRMC.
        All Crew members reporting fatigue will be required to complete an event fatigue
        report. This will allow Corporate Safety personnel and the FRMP Manager / FRMC
        to capture all factors relating to flight crew fatigue.




         13 SEP 16                                                                     1.8.1
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     Fatigue Reporting               Page 36 of 44
      Fatigue Management
      The data from the fatigue reporting system is used to evaluate the effectiveness of
      the program and develop policies and/or procedures to amend fatigue mitigation
      strategies as necessary. The systematic process of the Fatigue Risk Management
      Program conducts detailed analysis of fatigue-related events to determine the root
      cause. The Atlas FRMP Manager / FRMC shall oversee all fatigue event reviews
      and shall have primary responsibility for the making root-cause determinations.




      1.8.2                                                                   13 SEP 16
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            Fatigue Risk Management Plan
            Fatigue Education and Awareness Training                                           1.9
        Fatigue Education and Awareness




                            EDUCATION AND AWARENESS TRAINING PROGRAM
        Fatigue Training Program
        The Atlas Fatigue Education and Awareness Program should be a comprehensive
        educational program administered to all Company employees responsible for
        administering the provisions of Part 117.9 including:
           • Flight Crewmembers
           • Dispatchers
           • Individuals directly involved in the scheduling of Flight Crewmembers
           • Individuals directly involved in operational control
           • Employees providing direct management oversight of those areas
        For Crewmembers, frequency of training will be provided during initial, transition,
        and upgrade training and annually thereafter within the Flight Operations Training
        Manual (FOTM) and other applicable Company manuals. These fatigue-training
        modules will be presented in ground school using the Company’s Distance
        Learning System (CPaT) and delivered on an annual basis.
        Training for ground employees is provided annually via CPaT.
        The education and awareness-training program should include the following
        subject areas:
           • Review of FAA flight, duty, and rest regulatory requirements.
           • Awareness of fatigue
           • Atlas Air’s Fatigue Management Program and the FRMP program itself,
             including fatigue-related policies and procedures, and the responsibilities of
             management and employees to mitigate or manage the effects of fatigue
             and improve flight crew member flight deck alertness.
           • The basics of fatigue, including sleep fundamentals and circadian rhythms.
           • Causes of fatigue.
           • Fatigue awareness.
           • The effects of fatigue relative to pilot performance.
           • Fatigue countermeasures, prevention, and mitigation.
           • The influence of lifestyle, including nutrition, exercise, and family life, on
             fatigue.
           • Familiarity with sleep disorders.
           • The effects of fatigue as a result of commuting.
           • Pilot responsibility for ensuring adequate rest and fitness for duty.
           • The effects of operating through multiple time zones.
           • Operational procedures to follow when one identifies or suspects fatigue risk
             in oneself or others.

        13 SEP 16                                                                             1.9.1
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     Fatigue Education and           Page 38 of 44
      Awareness Training
       • Incorporate lessons learned regarding the effects of fatigue and mitigation
         initiatives relative to Atlas operations.
       • Use a methodology that continually assesses the effectiveness of the
         training program.
      Fatigue awareness and education training is updated every two years and
      submitted to the Administrator for approval and acceptance.
      The goal of the Atlas fatigue program is to enhance the safety of flight operations
      through Flight Crew fatigue awareness education and training, thereby mitigating
      Flight Crew fatigue risk to an acceptable level. Management at all levels is
      committed to safety and making safety excellence an integral part of all flight
      operations.




      1.9.2                                                                   13 SEP 16
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            Fatigue Risk Management Plan
            Fatigue Incident Reporting                                                    1.10
        Fatigue Incident Reporting




                                     FATIGUE INCIDENT REPORTING PROCESS
        Incident Reporting
        The FRMP Manager will input the report information into the applicable database
        and task the responsible department(s) to address the issue(s), usually within a
        15-day time period of the FRMC. This can be accomplished either by a corrective
        action taken to correct the issue, or by initiating a corrective action plan with a time
        line indicating when the issue will be corrected. However, depending on the nature
        of the problem (and with the approval of the department head), more time can be
        allotted. If a corrective action plan is provided and the issues are not time critical,
        the follow-up date will normally be adjusted to reflect the completion date of the
        corrective action plan.
        When received, the FRMP Manager will input all corrective actions into the
        database and will close the report. The FRMP Manager will notify the individual
        who submitted the report, primarily by WBAT, regarding the report status if the
        follow-up date is changed and the corrective action taken when the report is closed.

        Data Collection Sources
        Atlas will utilize all available reporting systems to identify fatigue. ASAP, ASRS, and
        the WBAT system will be used to monitor and forward fatigue-relevant data to the
        FRMP Manager / FRMC for evaluation.
        The Corporate Safety Department will ensure safety concerns are addressed,
        corrective actions are implemented, and education of appropriate parties is
        accomplished to prevent a re-occurrence of the same type of event.
        The Corporate Safety Department will review all events and disseminate the
        pertinent data to the applicable departments as required.




         13 SEP 16                                                                      1.10.1
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     Fatigue Incident Reporting




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           Fatigue Risk Management Plan
           Fatigue Monitoring                                                           1.11
       Fatigue Monitoring




                            SYSTEM FOR MONITORING FLIGHT CREW FATIGUE
       Fatigue Event Reviews
       The Atlas fatigue investigation process collects relevant information such as the
       schedule leading up to the fatigue report, the actions of the employee to obtain rest,
       subjective and objective evidence of fatigue, environmental conditions that may
       have exaggerated or contributed to fatigue, relevant health or medical conditions,
       specific actions related to the incident, and communications prior to and during the
       event.
       The data from this reporting system is used to evaluate the effectiveness of the
       program and develop policies and/or procedures to amend fatigue mitigation
       strategies as necessary. The systematic process of the Fatigue Risk Management
       Program conducts detailed analysis of fatigue related events to determine the root
       cause. The FRMP Manager / FRMC shall oversee all fatigue investigations and
       shall have primary responsibility for making root cause determinations.

       Privacy Report Policy
       Atlas’s Fatigue Management Program has internal protection as to the privacy and
       methods of protecting the employee from adverse action from the company. The
       systematic process of the Fatigue Management Program is designed to collect
       relevant information such as the schedule leading up to the fatigue report, the
       actions of the employee to obtain rest, subjective and objective evidence of fatigue,
       environmental conditions that may have exaggerated or contributed to fatigue,
       relevant health or medical conditions present, specific actions related to the
       incident, and communications prior to or during the event.
       The identity, or information revealing the identity, of any Crewmember who reports
       a fatigue event to the FRMP Manager, FRMC or Corporate Safety will not be
       disclosed unless agreed to by the employee, or required by law.
       The Corporate Safety Department retains all appropriate records electronically.
       Records are typically identified by unique control numbers; however, records may
       also be identified by other means such as by date, crew member name, issue, etc.
       Care will be taken to ensure all information entered into the electronic database will
       be legible and easy to understand. An individual will be identified, typically the
       Director of Safety, who has the over responsibility to maintain the record database
       as appropriate to ensure appropriate procedures are followed and ensure accuracy
       of content. Retrieval of information is easily accomplished using typical database
       retrieval procedures; however, to ensure proper protection and security of records,
       only safety employees have access to the record database.




        23 AUG 13                                                                     1.11.1
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     Fatigue Event Review
     Root Cause Analysis
     It is necessary for the FRMP Manager to explore the root cause of a fatigue report
     or incident. Root cause analysis helps identify what, how, and why an event
     occurred, thus preventing recurrence. The FRMP Manager shall consider the four
     basic characteristics of the root cause that forms the basis for the root cause
     analysis process:
      • Root causes are specific underlying causes.
      • Root causes are those that can reasonably be identified.
      • Root causes are those management has the ability to fix.
      • Root causes are those for which effective recommendations for preventing
        recurrences can be generated.
     If, at any time, a fatigue event review results in the discovery of negative findings,
     the findings will be identified and listed along with recommended corrective actions
     in the audit database and assigned a follow-up to ensure the findings are corrected.
     The FRMP Manager shall use the Atlas root cause analysis process to identify, fix,
     and prevent re-occurrences.

     Fatigue Operational Procedures
     Current Atlas accountability practices within the Flight Operations Manual (FOM)
     “Duties and Responsibilities” paragraphs, SIEM, CBA, and FARs will be used to
     identify and resolve fatigue-related risk factors from Atlas operations.




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          Fatigue Risk Management Plan
          FRMP Evaluation                                                              1.12
       FRMP Evaluation




                         ORGANIZATION’S FRMP EVALUATION PROGRAM
       Evaluation Process
       The Corporate Safety Department has the operational responsibility for safety
       programs and internal evaluation of those programs for effectiveness. The Internal
       Evaluation program includes the following principles:
          • A continual process incorporating the techniques of inspections, audits, and
            evaluations to assess managerial controls in key programs and systems.
          • A review that extends beyond regulatory compliance to determine
            deficiencies and detect needed improvements to company operating
            practices before deficiencies occur.
          • An ongoing function that identifies deficiencies, develops corrective actions,
            and performs follow-up evaluations.
          • An independent function that has straight-line reporting responsibility to top
            management.
       The Corporate Safety Department, in conjunction with the ongoing evaluations
       performed by each technical department and the involvement of all company
       employees, will fulfill these principles.
       The FRMP Manager / FRMC, working with the Corporate Safety Department, is
       ultimately responsible for ensuring that risk factors detected by the FRMP are
       remedied. Both have the responsibility to ensure that any areas perceived as
       ineffective within the FRMP are highlighted and corrected.
       By regulation, the FRMP must be reviewed and re-submitted every 24
       months.Prior to that re-submittal, a complete review by the Corporate Safety
       Department will be conducted to ensure that the FRMP is operating effectively. Any
       changes to the FRMP will be handled through the revision process, and all
       stakeholders will be provided an opportunity to review those changes as the
       program is implemented.




       23 AUG 13                                                                     1.12.1
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     FRMP Evaluation




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